Fill in this information to identify your case and this filing:


Debtor 1

Debtor 2
(Spouse, if filing) First Name                     Middle   Name                   l ast Name


United States Bankruptcy Court for the:     J1; 0oJ.f              District of -L.P_.A_,___

                                 7- /) 0 ~ l{ d....,,
                                               1

Case number               J
                                                                                                                                                        D   Check if this is an
                                                                                                                                                            amended filing
                                                                                                                                                                      ,
                                                                                                                                                                .......
Official Form 106A/B                                                                                                                                            =
Schedule A/B: Property
                                                                                                                                                      e.                  ( .,     .
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one catego 1 1 :;t th~sse~ Pie
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing togetliet~ 'o th are eq ·   1
                                                                                                                                               ,                             lly
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the t ' J)fan~ditio l-p ages,
                                                                                                                                               1

write your name and case number (if known). Answer every question.                                                     :,,       :::!:.' ::O ~
                                                                                                                                                  ~         9             ["l
               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest fir                                                              -0

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    0   ~ · Go to Part 2.
    ~Yes . Where is the property?
                                                                            ~ha~ the            property? Check all that apply.   Do not deduct secured claims or exemptions. Put
                                                                            IJl..-'Single-family home                             the amount of any secured claims on Schedule D:
      1.1 . ~~......,...,.._~~-1-¥;-.,-.~~~~~'7."t-"'Y"lo..J.                                                                     Creditors Who Have Claims Secured by Property.
                                                                            0     Duplex or multi-unit building
                                                                            0    Condominium or cooperative                       Current value of the      Current value of the
                                                                            0     Manufactured or mobile home                     entire property?          portion you owna
                                                                            0     Land                                            $11) aor;                 $        da., ifo~
             £o±f:Svi i le1}Azl!if!J
                                                                            D     Investment property
                                                                            0     Timeshare                                       Describe the nature of your ownership
                                                                                                                                  interest (such as fee simple, tenancy by
                                                                            D     Other _ _ __ _ _ _ _ _ _ _ __
                                                                                                                                  the entireties, or a life estate), if known.



             Jp/iu,ylki 1)
                                                                            Whvias an interest in the property? Check one.
                                                                            lirOebtor 1 only
                                                                            0    Debtor 2 only
                                                                            D    Debtor 1 and Debtor 2 only                       D   Check if this is community property
                                                                                                                                      (see instructions)
                                                                            D    At least one of the debtors and another
                                                                            Other information you wish to add about 34emg,yc?f s locaj
                                                                            property identification number:   /pg' .-  - ~ ti 0                     06
    If you own or have more than one, list here:
                                                                           What is the property? Check all that apply.
                                                                                                                                  Do not deduct secured claims or exemptions. Put
                                                                           D    Single-family home                                the amount of any secured claims on Schedule D:
                                                                                                                                  Creditors Who Have Claims Secured by Property.
      1.2.                                                                 D    Duplex or multi-unit building
             Street address, if available, or other description
                                                                           D    Condominium or cooperative                        Current value of the      Current value of the
                                                                           0    Manufactured or mobile home                       entire property?          portion you own?
                                                                           D    Land                                              $_ _ _ _ _ __
                                                                           D    Investment property
                                                                                                                                  Describe the nature of your ownership
             City                            State           ZIP Code
                                                                           0    Timeshare
                                                                                                                                  interest (such as fee simple, tenancy by
                                                                           D    Other _ _ _ _ _ _ _ _ _ _ _ __                    the entireties, or a life estate), if known.
                                                                           Who has an interest in the property? Check one.
                                                                           D    Debtor 1 only

             County                                                        D    Debtor 2 only
                                                                           D    Debtor 1 and Debtor 2 only                        D   Check if this is community property
                                                                           0    At least one of the debtors and another               (see instructions)

                                                                           Other information you wish to add about this item, such as local
                                                                           property identification number: - - - - - - - - - - - - - - -


Official Form 106A/B                                                        Schedule A/B: Property                                                                        page 1


             Case 5:17-bk-00242-JJT                                  Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                                  Desc
                                                                      Main Document    Page 1 of 56
 Debtor 1                                                                                                            Case number     (if known)--+/_1
                                                                                                                                                    _-_!J~tJ~;(-----.lf~;L~'·_

                                                                       What is the property? Check all that apply.                        Do not deduct secured claims or exemptions. Put
                                                                        0    Single-family home                                           the amount of any secured claims on Schedule D:
       1.3.                                                                                                                                Creditors Who Have Claims Secured by Property.
               Street address, if available, or other description       0    Duplex or multi-unit building
                                                                        0    Condominium or cooperative                                   Current value of the         Current value of the
                                                                                                                                          entire property?,            portion you own?
                                                                        D    Manufactured or mobile home
                                                                        D    Land                                                          $,             >   <   V


                                                                                                                                             """' I   "
                                                                        D    Investment property
               City                            State      ZIP Code      D    Timeshare                                                     Describe the nature of your ownership
                                                                                                                                           interest (such as fee simple, tenancy by
                                                                        D    Other _ _ _ _ __ _ _ _ _ _ __
                                                                                                                                           the entireties, or a life estate}, if known.
                                                                        Who has an interest in the property? Check one.
                                                                        D    Debtor 1 only
              County
                                                                        0    Debtor 2 only
                                                                        0    Debtor 1 and Debtor 2 only                                   D    Check if this is community property
                                                                                                                                               (see instructions)
                                                                        0    At least one of the debtors and another

                                                                        Other information you wish to add about this item, such as local
                                                                        property identification n u m b e r : - - - - - - - - - - - - - - -


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here ........... . .............. . ...... .. .. ... ... ..... .......... . ....... ...... ... ....... ... . . ~




ilfl Describe Your Vehicles
 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle , also report it on Schedule G: Executory Contracts and Unexpired Leases ..


 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

     D~
     [illYes


               Make:                                                    Who has an interest in the property? Check one.                    Do not deduct secured claims or exemptions. Put
      3.1 .
               Model:                                                   ~btor1 only                                                        the amount of any secured claims on Schedule D:
                                                                                                                                           Creditors Who Have Claims Secured by Property.
                                                                        D    Debtor 2 only
               Year:                                                                                                                       Current value of the        Current value of the
                                                                        0    Debtor 1 and Debtor 2 only



                                                                                                                                                                       $a
                                                                                                                                           entire property?            portion you own?
               Approximate mileage:                                     0    At least one of the debtors and another
               Other information :
                                                                        0    Check if this is community property (see
                                                                             instructions}



     If you own or have more than one, describe here:

                                                                        Who has an interest in the property? Check one.                    Do not deduct secured claims or exemptions. Put
      3.2.    Make:
                                                                                                                                           the amount of any secured claims on Schedule D:
              Model :
                                                                        D    Debtor 1 only                                                 Creditors Who Have Claims Secured by Property.
                                                                        D    Debtor 2 only
              Year:                                                                                                                        Current value of the        Current value of the
                                                                        0    Debtor 1 and Debtor 2 only
                                                                                                                                           entire property?            portion you own?
              Approximate mileage:                                      0    At least one of the debtors and another
               Other information:
                                                                                                                                           $_ _ _ _ _ __               $_ _ _ _ _ __
                                                                         0   Check if this is community property (see
                                                                             instructions)




  Official Form 106A/B                                                   Schedule A/B : Property                                                                              page 2


              Case 5:17-bk-00242-JJT                            Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                                          Desc
                                                                 Main Document    Page 2 of 56
Debtor 1                                                                                                                                      Case number (ff known),_          _,__J_lt__.__"_.(}"-·-'-12"-'d'-L'--_Lf'--"'-~"---==---

                Describe Your Personal and Household Items

                                                                                                                                                                                                    Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                                                                                    portion you own?
                                                                                                                                                                                                    Do not deduct secured claims
                                                                                                                                                                                                    or exemptions.

6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china , kitchenware

    0     No/                                        ~~~~n.1 ffiL_                          .                                                                                           .
     ~' o.mlb•                            JlfjiiJ,(ihr!fe~-lj/;ff1 ,l<ffi}1.ef 1~ -j-tJt<IOS 1 $~!0~()~{)-
                                           L , ~-         I   - n:-er5~Li~-;::J' t'l. (J!2'---___,
1. Electronics                                                         /   & M 1 J/Jre:sseJ2-,                                                                           ~-
    Examples: Televisions and radios ; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                     collections; electronic devices including cell phones, cameras, media players, games


    ~Describe                  .... .. .. ..       tre iJ                                                                                                                                             $_7-+---""tJ"--""{)'---
8. Collectibles of value
    Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
    ~                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

    D     Yes. Describe .. .. ......


9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs , skis; canoes
    ~                and kayaks; carpentry tools; musical instruments


    .SJ ~s. Describe .... .. ....
10. Firearms
    ~s:              Pistols, rifles, shotguns, ammunition, and related equipment

    D     Yes. Describe .. .... .. ..                                                                                                                                                                 $_ _ _ _ _ _ __

11 .Clothes
    Examples: Everyday clothes, furs , leather coats , designer wear, shoes , accessories


    ~- Describe........ .                            Jffe 5 J Shoc.51                             Ct/-   l(_(!{]jUJIJ{) rt e_:IJ                                                                      $~~-()~O-
                                                                                                                                  ·---------------~

12.Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings , wedding rings , heirloom jewelry, watches, gems,
             gold , silver


    gz_           Describe ......... .         j w e_JJ_i Y'j              r (~ ~ ~+uf"h € ._je_ UJel cry                                                                                             $~/-~_00_
13. Non-farm animals
    Examples: Dogs, cats , birds , horses



                                                                                                                                                                                       =1 $~0-
    D~
    ~es. Describe .......... J cJl {)
                                               I
                                                        "i5
                                                         '
14.: ? personal and household items you did not already list, including any health aids you did not list


     0    Yes . Give specific                                                                                                                                                                         $_ _ _ _ _ _ __
          information.· ····· ·······' - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - '
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                        $
                                                                                                                                                                                                   .--I                           -ll
                                                                                                                                                                                                          J-.-.--:"100.....,....-,.   0....,,........,1
    for Part 3. Write that number here ........................................................................................................................ ................ ... ......... ~



 Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                           page4


               Case 5:17-bk-00242-JJT                                           Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                                                                     Desc
                                                                                 Main Document    Page 3 of 56
                                                                                                                            M ~ll!J t'J JI~
Debtor 1                                                                                           Case number (if known)_~----
                                                                                                                        /     / _ _fL~---~~-'~-'---




   3.3.    Make:                                           Who has an interest in the property? Check one.        Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
            Model:                                         0    Debtor 1 only
                                                                                                                  Creditors Who Have Claims Secured by Properly.
                                                           D    Debtor 2 only
           Year:                                                                                                  Current value of the      Current value of the
                                                           D    Debtor 1 and Debtor 2 only
           Approximate mileage:                                                                                   entire property?          portion you own?
                                                           D    At least one of the debtors and another
           Other information:
                                                                                                                  $_ _ _ _ _ __             $_ _ _ _ _ _ _
                                                            D   Check if this is community property (see
                                                                instructions)


   3.4.     Make :                                         Who has an interest in the property? Check one.        Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
            Model :
                                                           D    Debtor 1 only
                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                           D    Debtor 2 only
           Year:                                                                                                  Current value of the      Current value of the
                                                           0    Debtor 1 and Debtor 2 only
                                                                                                                  entire property?          portion you own?
           Approximate mileage:                            D    At least one of the debtors and another
            Other information:
                                                                                                                  $_ _ _ _ _ __             $_ _ _ _ _ __
                                                            D Check if this is community property (see
                                                                instructions)




4 . Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   ~x?p/es:      Boats, trailers, motors, personal watercraft, fishing vessels , snowmobiles, motorcycle accessories
   I]" No
   D      Yes


                                                           Who has an interest in the property? Check one.        Do not deduct secured claims or exemp~ons. Put
   4.1.     Make:
                                                                                                                  the amount of any secured claims on Schedule D:
            Model :
                                                           0    Debtor 1 only
                                                                                                                  Creditors Who Have Claims Secured by Properly.
                                                           D    Debtor 2 only
            Year:
                                                           0    Debtor 1 and Debtor 2 only                        Current value of the      Current value of the
            Other information:                             0    At least one of the debtors and another           entire property?          portion you own?


                                                            0   Check if this is community property (see          $_ _ _ _ _ __             $ _ _ _ _ _ __
                                                                instructions)



   If you own or have more than one , list here:

                                                           Who has an interest in the property? Check one.        Do not deduct secured claims or exemptions. Put
   4.2.     Make:
                                                                                                                  the amount of any secured claims on Schedule D:
            Model:
                                                            D   Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
                                                            D   Debtor 2 only
            Year:                                                                                                 Current value of the      Current value of the
                                                            0   Debtor 1 and Debtor 2 only
                                                                                                                  entire property?          portion you own?
            Other information:                              0   At least one of the debtors and another

                                                                                                                  $_ _ _ _ _ __             $_ _ _ _ _ __
                                                            0   Check if this is community property (see
                                                                instructions)




 Official Form 106A/B                                        Schedule A/B: Property                                                                 page 3


           Case 5:17-bk-00242-JJT                    Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                          Desc
                                                      Main Document    Page 4 of 56
 Debtor 1                                                                                                                                                       Case number (ffknown)   (1/-J;J q L/lJ-/
!Mil            Describe Your Financial Assets

Do you own or have any legal or equitable Interest In any of the following?                                                                                                                       Current value of the
                                                                                                                                                                                                  portion you own?
                                                                                                                                                                                                  Do not deduct secured claims
                                                                                                                                                                                                  or exemptions.

16.Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   D~
   ~es ............... ....... ...................................................................................................... ....... ...... ...................... .



17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
              and other similar institutions. If you have multiple accounts with the same institution , list each.

   D~
   @IY'es ................... ..                                                                   Institution name:


                                               17.1. Checking account:                               /Jidrtev !Li ver(/mltl-                                                            //n0n $1!.J'-f
                                               17.2. Checking account:

                                               17.3. Savings account:

                                               17.4. Savings account:                                                                                                                              $_ _ _ _ _ _ __

                                               17 .5. Certificates of deposit:                                                                                                                     $_ _ _ _ _ __

                                               17.6. Other financial account:                                                                                                                      $_ __ _ __ _

                                               17.7. Other financial account:                                                                                                                      $_ _ __ _ __

                                               17.8. Other financial account:                                                                                                                      $_ _ _ _ _ __

                                               17.9. Other financial account:                                                                                                                      $_ _ _ _ _ __




18. Bonds, mutual funds, or publicly traded stocks
  ~Bond                        funds , investment accounts with brokerage firms, money market accounts


   D    Yes ........ .... .. ...               Institution or issuer name:

                                                                                                                                                                                                   $________
                                                                                                                                                                                                   $_ _ _ _ _ __
                                                                                                                                                                                                   $________



19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
    an L~partnership, and joint venture

   ~o                                          Name of entity:                                                                                                                  % of ownership:
   D Yes. Give specific                                                                                                                                                         0%         %       $_ _ _ _ _ __
        information about                                                                                                                                                       0%
        them .........................                                                                                                                                          _____%             $._ _ _ _ _ __
                                                                                                                                                                                  0
                                                                                                                                                                                _0__Yo___%         $_ _ _ _ _ _ __




Official Form 106A/B                                                                             Schedule A/B : Property                                                                                       page 5


              Case 5:17-bk-00242-JJT                                                    Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                                                     Desc
                                                                                         Main Document    Page 5 of 56
Debtor 1                                                                                                      Case number w•nown )_   _,_/_11---'-_-_ _,J.._""~---=u'----....__,2.;='---'--


20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers' checks , promissory notes, and money orders .
   Non-~ble instruments are those you cannot transfer to someone by signing or delivering them.



   ~-.,.                                                                           /? .
         . -~. Give specific                Issuer name:
                                                                                                          I
        information about
        them ..... ......... ........ .
                                                     J.'.                                                                                                   $ _ _ _ _ _ __

                                                                                                                                                            $________
                                                                                                                                                            $_ _ _ _ _ __


21 . Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh , 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

   Dry
   ~es.     List each
        account separately. Type of account:                           Institution name:

                                            401 (k) or similar plan:                                                                                        $_ _ _ _ _ __

                                            Pension plan:                                                                                                   $    I & IJtJ !), 7ti
                                                                                                                                                                         /
                                            IRA:

                                            Retirement account:

                                            Keogh:

                                            Additional account:                                                                                             $_ _ _ _ _ __

                                            Additional account:                                                                                             $_ _ _ _ _ __



22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    ; Z e s , or others



   D    Yes ......................... .                           Institution name or individual:
                                            Electric:                                                                                                      $_ _ _ _ _ _ _ __
                                            Gas:                                                                                                           $_ _ _ _ _ _ __
                                            Heating oil:                                                                                                   $_ _ _ _ _ _ __
                                            Security deposit on rental u n i t : - - - - - -- - -- - - -- - - - - - - - - - - -                            $_________
                                            Prepaid rent:                                                                                                  $_ _ _ _ _ _ __
                                            Telephone:                                                                                                     $_ _ _ _ _ _ __
                                            Water:                                                                                                         $_ _ _ _ _ _ _ __
                                            Rented furniture:                                                                                              $_ _ _ _ _ _ __
                                            Other:                                                                                                         $_ _ _ _ _ _ __


23.Ann~es (A contract for a periodic payment of money to you, either for life or for a number of years)
    ~o
    D    Yes ... ............ ...........   Issuer name and description :
                                                                                                                                                            $_ _ _ _ _ __
                                                                                                                                                            $_ _ _ _ _ __
                                                                                                                                                            $_ _ _ _ _ __


 Official Form 106A/B                                                           Schedule A/B : Property                                                                      page 6


           Case 5:17-bk-00242-JJT                                       Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                               Desc
                                                                         Main Document    Page 6 of 56
Debtor 1
                First Name
                                                             n!J                                         Case number (if known),_      _._f__,,(1...:..____.
                                                                                                                                                         --'{2-'-"'{J_,,cXo:....:...._l/'i__,___,,OlJ
                                                                                                                                                                                           "--=-



24. Interests In an education IRA, in an account in a qualified ABLE program , or under a qualified state tuition program.
    26 11A S. §§ 530(b)(1), 529A(b), and 529(b)(1 ).


                                           lnstitutisin name and description. Separately file the records of any interests.11 U.S .C. § 521 (c):
                                                                        .I-. .
                                                                                                                                                                 $_ _ _ _ _ __
                                                                                                                                                                 $_ _ _ _ _ _ __
                                                                                                                                                                 $_ _ _ _ _ __


25. Trusts, uitable or future interests in property (other than anything listed in line 1), and rights or powers
    exer · able for your benefit


   D   Yes . Give specific
       information about them ....


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    ~s : Inte rnet domain names, websites, proceeds from royalties and licensing agreements



   D   Yes . Give specific
       information about them ....


27. Licenses, franchises, and other general intangibles
    ~s : Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses



   D   Yes . Give specific
       information about them ....                                                                                                                              $_ _ _ _ _ __


Money or property owed to you?                                                                                                                                   Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                Do not deduct secured
                                                                                                                                                                claims or exemptions.

28. TaY ~funds owed to you
  .a
   ~s. Give specific information                                                                                           Federal :                        $  t/ih'-t ijf)
             about them , including whether
             you already filed the returns                                                                                 State :                          $_______ _
             and the tax years . .............. ........ .                                                                                                  $_ _ _ _ _ __
                                                                                                                           Local :



29. Family support
    Exa'J#les: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

   GYNo
   D   Yes. Give specific information ....... .......
                                                                                                                          Alimony:                              $. _ _ _ _ _ __
                                                                                                                          Maintenance:                          $_ _ _ _ _ __
                                                                                                                          Support:                              $_ _ _ _ _ __
                                                                                                                          Divorce settlement:                   $. _ _ _ _ _ __
                                                                                                                          Property settlement:                  $._ _ _ _ _ __

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
       J      Social Security benefits; unpaid loans you made to someone else

   ~ Yes.
   D
     No
          Give specific information .............. .
                                                     ----------------------------~


 Official Form 106A/B                                              Schedule A/B : Property                                                                                        page 7

           Case 5:17-bk-00242-JJT                             Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                                               Desc
                                                               Main Document    Page 7 of 56
 Debtor 1                                                                                                                                         Case number (ifknown), _ _          /_t1j
                                                                                                                                                                                         ~_~_..!)~()'--'-"d-'--Lf.,.__,.J,.~·-"'--
                                                                                                                                                                                                                               /

31 . Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance


     ~s.           Name the insurance company
                   of each policy and list its value ....
                                                                                                                                                                                                          Surrender or refund value:


                                                                                                                                                                                                          $    Lf~ dtJ/t /
                                                                                                                                                                                                          $_ _ _ _ _ _ __
                                                                                                                                                                                                          $_ _ _ _ _ __

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
    prop.7""Y because someone has died.
     &l"No
     0     Yes. Give specific information .......... ....



33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Exarfples: Accidents , employment disputes, insurance claims, or rights to sue
     iij/No
     0 Yes . Describe each claim .....................                 r---------------------------------,

34. O~ther ntingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
    to s off claims


     0
           No
           Yes. Describe each cla im ........ .. ...... .....        L ___________
35. AnyJfnancial assets you did not al_ready list
     Gil' No                                                          ~-------------------------------~
     0     Yes. Give specific information ........... .



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here .... .... ..... .. .................................................................................. ... .................... ...... ...................... ~




                   Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

              u own or have any legal or equitable interest in any business-related property?


     0     Yes . Go to line 38 .

                                                                                                                                                                                                        Current value of the
                                                                                                                                                                                                        portion you own?
                                                                                                                                                                                                        Do not deduct secured claims
                                                                                                                                                                                                        or exemptions.

38. Accounts receivable or commissions you already earned
     0     No
     0     Yes. Describe .... .. .


39. Office equipment, furnishings, and supplies
     Examples: Business-related computers, software, modems, printers, copiers , fax machines, rugs, telephones, desks, chairs, electronic devices
     0     No
     0     Yes. Describe ...... .




 Official Form 106NB                                                                       Schedule A/B : Property                                                                                                    page 8

             Case 5:17-bk-00242-JJT                                            Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                                                                  Desc
                                                                                Main Document    Page 8 of 56
 Debtor 1                                                                                                                                     Case number (ffknown),_             ___,/_J,__--=-/)_/_t?{
                                                                                                                                                                                                    _L/} ---=-~-=---

40. Jl.'.'acti?ry, fixtures, equipment, supplies you use in business, and tools of your trade

    ~o
     0     Yes . Describe .......



41 . lnve/ory
      ~~--

     0     Yes. Describe .. .. ...



42. lnter¢s in partnerships or joint ventures
     ~o
     0    Yes . Describe ....... Name of entity:                                                                                                                      % of ownership:
                                                                                                                                                                      _ _ _%                      $_ _ _ _ _ _ _ _ __
                                                                                                                                                                      _ _ _%                      $_ _ _ _ _ _ _ __
                                                                                                                                                                      _ _ _%                      $_ _ _ _ _ _ _~

43. Cu !mer lists, mailing lists, or other compilations
     ~o rr
             0
     0    Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                  0     No
                  0     Yes. Describe ........
                                                                                                                                                                                                  $_ _ _ _ _ _ __


44 *"•·reloted p•oporly you did oot •lre•dy U•I

     0    Yes . Give specific                                                                                                                                                                     $_ _ _ _ _ _ _~
          information ........ .
                                                                                                                                                                                                  $_ _ _ _ _ _ _           ~




                                                                                                                                                                                                  $_ _ _ _ _ _ _~
                                                                                                                                                                                                  $_________

                                                                                                                                                                                                  $_ _ _ _ _ _ _~

                                                                                                                                                                                                  $

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
    for Part 5. Write that number here ........................ ........................................................... ................................................................. ~




                  Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                  If you own or have an interest in farmland, list it In Part 1.


     y~wn or have any legal or equitable interest in any farm- or commercial fishing-related property?
46. Do
                                                                                                                                                                               "·
    ~o. Go to Part 7.
     0    Yes. Go to line 47.
                                                                                                                                                                                                  Current value of the
                                                                                                                                                                                                  portion you own?
                                                                                                                                                                                                  Do not deduct secured claims
                                                                                                                                                                                                  or exemptions.
47. Farm animals
     Examples: Livestock, poultry, farm-raised fish

     0    No
     0    Yes ........................ .

                                                                                                                                                                                                    $_ _ _ _ _ __



 Official Form 106A/B                                                                   Schedule A/B : Property                                                                                                page9


              Case 5:17-bk-00242-JJT                                           Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                                                             Desc
                                                                                Main Document    Page 9 of 56
 Debtor 1                                                                                                                                                Case nu mber (;(known)




48. Crops-either growing or harvested

     0     No
     0     Yes . Give specific
           information ............ .

49. Farm and fishing equipment, implements, machinery, fixtures , and tools of trade
     0     No
     0     Yes ..... ......... .. ......... .



50. Farm and fishing supplies, chemicals, and feed

     0     No
     0     Yes ...................... ... .



51 . Any farm- and commercial fishing-related property you did not already list
     0
     0
           No
           Yes. Give specific
           information .............
                                                r-
                                                L_                                                                                                                                                                  $_ _ _ _ _ __

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
    for Part 6. Write that number here .............. ......... ........... ... ..... ............. .... .... ... .. ........................ .. .................... .................................. ~




                    Describe All Property You Own or Have an Interest in That You Did Not List Above




                                                                                                                                                                                           J
53. Do you have other property of any kind you did not already list?
     ~es: Season tickets . country club membership


                                                                                                                                                                                                                    $_ _ _ _ _ __
     0     Yes. Give specific
                                                                                                                                                                                                                     $_ _ _ _ _ __
           information .............            ~----------------·-----------------
                                                1
                                                                                                                                                                                                                     $_ _ _ _ _ __


54. Add the dollar value of all of your entries from Part 7. Write that number here ............................................................. .... ~                                                             $---0~-
l§f:M                List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 .......................................... .................................... .................. ............ .......... .. ..................... ..... .. ......... . ~

56. Part 2: Total vehicles, line 5                                                                                      $____._.O'-----
57. Part 3: Total personal and household items, line 15

58. Part 4: Total financial assets, line 36
                                                                                                                        $

                                                                                                                        $
                                                                                                                             j}JIJO
                                                                                                                              '1«012 g. d!J                    -
59. Part 5: Total business-related property, line 45                                                                    $J
60. Part 6: Total farm- and fishing-related property, line 52

61. Part 7: Total other property not listed, line 54


62. Total personal property. Add lines 56 through 61 . ................... .                                            $     'l'~LJe+py                              personal property total               ~      +$   t-tflfK', 2/J  -
 63. Total of all property on Schedule A/B . Add line 55 + line 62 ....................................... .... ............... ... .. .. ..... ......... .......... .                                             I$41/J']_, .<!f
  Official Form 106A/B                                                                         Schedule A/B : Property                                                                                                       page 10

              Case 5:17-bk-00242-JJT                                               Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                                                                        Desc
                                                                                   Main Document    Page 10 of 56
 Debtor2
 (Spouse, if fi ling) First Name          Middle Name               Last Name


 United States Bankruptcy Court for theMdJt District of         PA-
 Case number
  (If known)
                      )   "f -     {J~dL{a ~                                                                                          D   Check if this is an
                                                                                                                                          amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                       04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule AIB: Property (Official Form 106NB) as your source, list the property that you claim as exempt. If more
space is needed , fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions- such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


                 Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      0    ~u are claiming state and federal nonbankruptcy exemptions. 11 U.S .C. § 522(b)(3)
      !lr'You are claiming federal exemptions . 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule AIB that you claim as exempt, fill in the information below.


       Brief description of the property and line on    Current value of the    Amount of the exemption you claim         Specific laws that allow exemption
       Schedule A/B that lists this property            portion you own
                                                        Copy the value from     Check only one box for each exemption.
                                                        Schedule AIB

      Brief
      description:
                                                                                / ,~:!>          (p   116
                                                                                0   100% of fair market value, up to
      Line from
      Schedule AIB:            j_J                                                  any applicable statutory limit


      Brief
      description:
                                                                                0$ _ _ __
      Line from
                                                                                0 100% of fair market value, up to
                                                                                    any applicable statutory limit
      Schedule A/B:

      Brief
      description :
                                                                                0$ _ _ __
      Line from
                                                                                0 100% of fair market value , up to
      Schedule A/B:                                                                 any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4101119 and every 3 years after that for cases filed on or after the date of adjustment.)

      ~
      0    Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
           0       No
            0      Yes



Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                           page 1 of_


               Case 5:17-bk-00242-JJT                   Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                      Desc
                                                        Main Document    Page 11 of 56
Debtor 1                                                                                  Case number   (Wknown).~!~1~-_.....0~!lt'-b~,,,__Lf~dJ=----

f§fi Additional Page
      Brief description of the property and line   Current value of the   Amount of the exemption you claim             Specific laws that allow exemption
      on Schedule AIB that lists this property     portion you own
                                                   Copy the value from    Check only one box for each exemption
                                                   Schedule AIB

     Brief
     description:
     Line from
                      1_f'('j1 AAr#-=~·o_ ~ ~?i:Z'l~oD                    0    100% of fair market value , up to
                                                                               any applicable statutory limit
     Schedule A/B:

                      fi!Jatt?f:i~)jaJ)? I()0 6 .to
                                                                          ~~"qqoo
     Brief
     description :
     Line from
     Schedule A/B:
                      ~     lo                                                 any applicable statutory limit
                                                          ,,

     Brief
     description :
                          £ kd-rorU es              $     700,1J~~OD1. 00
     Line from
     Schedule A/B:
                      :z_                                                 0    100°/:0f fair market value, up to
                                                                               any applicable statutory limit


     Brief
                      Pjf~!Y                        $   :boO.~ o ~fdAo~tJd
                                                                                                                                               ocx~)(JJ}
     description :
     Line from
     Schedule A/B:
                                                                          0    100% of fair market value , up to
                                                                               any applicable statutory limit       () () .5 . C.
     Brief
                      "'reweb1                      $   1aoo,trJ~~{)(),, oo
     description :
     Line from
     Schedule A/8:
                      Id-                 I                               0    100% of fair market value, up to
                                                                               any applicable statutory limit
                                                                                                                        fl fJ. <;, .0,MJ_,())C4)
     Brief
     description:         eadi   t/j 11e11J /t .oo  $
     Line from
                          _J_f£z                                          0    100% of fair market value, up to }   J
                                                                               any applicable statutory limit
     Schedule A/B:

     Brief
     description:
     Line from
     Schedule AIB:
                          ftechjkd 1i. ~~ ~Zf;~m~t.'"'·""'I LJ ,S_,l Qc;d_/r!) fo}
                                                    $
                                                                               any applicable statutory limit   I

     Brief
     description :
                           RfficlMed~ dJ,.jffilf,;;hra{__                                                           Ji ~lA f;.C. S;;.~ct~w)~
                          "/ J                                            0    100% of fair market value, up to
      Line from
      Schedule A/B:
                      0tl4--                                                   any applicable statutory limit


      Brief
      description:
                          Ju li    I-l1Sll/(f_ftt_$     lj!j_J 3tJ1 0~         100% of fair market value , up to
                                                                                                                    n
      Line from
      Schedule AIB:       3-/--                                                any applicable statutory limit


      Brief
      description :
                                                    $_ _ _ _ _ __          0$ _ _ __
      Line from
                                                                           0 100% of fair market value , up to
                                                                               any applicable statutory limit
      Schedule A/B:

      Brief                                         $_ _ _ _ _ __          0$ _ _ __
      description:
      Line from
                                                                           0 100% of fair market value, up to
                                                                               any applicable statutory limit
      Schedule A/B:


      Brief                                         $._ _ _ _ _ __         0$ _ _ __
      description :
      Line from
                                                                           0   100% of fair market value, up to
                                                                               any applicable statutory limit
      Schedule AIB:


 Official Form 106C                                Schedule C: The Property You Claim as Exempt                                           page.f_of_


           Case 5:17-bk-00242-JJT                  Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                         Desc
                                                   Main Document    Page 12 of 56
 Debtor 2
 (Spouse ,   if filing) First Name                  Middle Name                  Last Name


 United States Bankruptcy Court for theft          /r/~istrict of ~P_IJ. ..~-
 Case number
 (If known)
                               Jl'J   .- /Jo~ Lf~                                                                                                      0   Check if this is an
                                                                                                                                                           amended filing


 Official Form 1060
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
      D )lo. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      g-Yes. Fill in all of the information below.                                .


                 List All Secured Claims
                                                                                                          Column A                             ColumnB               Column C
2. List all secured claims. If a creditor has more than one secured claim , list the creditor separately Amount of claim                       Value of collateral   Unsecured
   for each claim . If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the                    that supports this    portion
   As much as possible, list the claims in alphabetical order according to the creditor's name.           value of collateral.                 claim                 If any

                                                             Describe the property that secures the claim:                      $   &/ 11'/f   $   fj~a.LJ7          $_ _

                                                           l~
                                                            §:;;
                                                              ~:-;:-~-
                                                                     '1-
                                                                       ao~
                                                                         ~-ivrJSf:
                                                                            ---1
                                                             As of the date you file ,   th~        is: Check all that apply.
                                                             0    Contingent
                !5"/Jtl!J -{of 7@.,                          D    Unliquidated
      City                             State   ZIP Code      D    Disputed
  Whores the debt? Check one.                                Natu?'°f lien. Check all that apply.
  (DIQebtor 1 only                                           [J.l'An agreement you made (such as mortgage or secured
  0 Debtor 2 only                                                 car loan)
  0 Debtor 1 and Debtor 2 only                               0 Statutory lien (such as tax lien, mechanic's lien)
  0 Al least one of the debtors and another                  D    Judgment lien from a lawsuit
                                                             D    Other (including a right to o f f s e t ) - - - - - - - -
  0     Check if this claim relates to a



2.2
        community debt
                                                             Last 4 digits of account number _· _        y_ _f c; '-f
                                                             Describe the property that secures the claim :


      .,..,.---,-----:,,----:------r-o-m 1~e12_ cl_j)CJ WJ\fl/e_/
      Number             Street    ~
                                                             As of the date you file, the claim is : Check all that apply.
                                                             0    Contingent
                                                             D    Unliquidated
      City                             State   ZIP Code      0    Disputed
  Who_p(fes the debt? Check one.                             Natu~lien . Check all that apply.
  ~ebtor 1 only                                              lll"An agreement you made (such as mortgage or secured
  0     Debtor 2 only                                            car loan)
  0     Debtor 1 and Debtor 2 only                           0 Statutory lien (such as tax lien, mechanic's lien)
  0     At least one of the debtors and another              0 Judgment lien from a lawsuit
                                                             0 Other (including a right to offset) _ _ _ _ _ _ __
  0  Check if this claim relates to a
     community debt
  Date debt was incurred                                     Last 4 digits of account number
      Add the dollar value of your entries in Column A on this page. Write that number here:
                                                                                         ·------------L~~..:...~~~~~·


 Official Form 1060                                   Schedule D: Creditors Who Have Claims Secured by Property                                             page 1 of_

               Case 5:17-bk-00242-JJT                              Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                            Desc
                                                                   Main Document    Page 13 of 56
                                                                                                                                                                                •
Debtor 1                                                                                                               Case number (ff known)._ _ _ _ _ _ _ _ _ _ _ _ _ _ __



                 Additional Page                                                                                                 Column A         ColumnB               Column C
                                                                                                                   Amount of claim                Value of collateral   Unsecured
                After listing any entries on this page, number them beginning with 2.3, followed
                by 2.4, and so forth .                                                                             Do not deduct the              that supports this    portion
               - - - - ! " " " " " " " . " " - - - : - - - - - - - - - - - - - - - - - - - - - - - - - - - - - v a l ue of collateral.            claim                 If any

      P/J..JS1 / Ale HAP                               tRf<blt.~~9 f/j J!YJ
                                                             Describe the property that secures the claim :                     $                  $                    $_ __
     Creditor's Nam~/                                                 1
     rJ.dl IVe,r;flz ho.d5/. ~,fr-~'?/fg/"{>5J:rt1rJ1]
        1.J     ,                     As of the date you file, the claim ~ :Check all that apply.
        /.J(JJTtS/;aJ:-4 IJ/}:_/7t/~( D Contingent
     City                         1,.Jl'afez1P co~e          D    Unliquidated
                                                             D    Disputed
 ~h~wes           the debt? Check one.                       Na~      of lien. Check all that apply.
 St'Debtor 1 only                                            !ti'An agreement you made (such as mortgage or secured
 D        Debtor 2 only                                           car loan)
 D        Debtor 1 and Debtor 2 only                         D    Statutory lien (such as tax lien, mechanic's lien)
 D        At least one of the debtors and another            D    Judgment lien from a lawsuit
                                                             D    Other (including a right to o f f s e t ) - - - - - - - - -
 D        Check if this claim relates to a                                                                                _..,,,.,
          community debt              ;!('"   J "l "'

 Date debt was incurred              ~1 D                    Last 4 digits of account numbeS_lo                _b _b
D    Cred itor's Name
                                                             Describe the property that secures the claim :                     $_ _ _ _ _ _ __ $_ _ _ _ _ _ _ $_ _ _ __



     Number              Street

                                                             As of the date you file, the claim is: Check all that apply.
                                                              D   Contingent
                                                              0   Unliquidated
     City                               State     ZIP Code
                                                              0   Disputed
 Who owes the debt? Check one.
                                                             Nature of lien . Check all that apply.
 D        Debtor 1 only
                                                              0   An agreement you made (such as mortgage or secured
 D        Debtor 2 only                                           car loan)
 D        Debtor 1 and Debtor 2 only                          0   Statutory lien (such as tax lien, mechanic's lien)
 0        At least one of the debtors and another             D   Judgment lien from a lawsuit

 0        Check if this claim relates to a
                                                              D   Other (including a right to o f f s e t ) - - - - - - - - -
          community debt

 Date debt was incurred                                       Last 4 digits of account number _ _ _ _


                                                             Describe the property that secures the claim:                      $ _ _ _ _ _ __     $_ _ _ _ _ _ $_ _ _ __
        Creditors Name


        Number           Street


                                                              As of the date you file, the claim is: Check all that apply.
                                                              D   Contingent
        City                            State     ZIP Code    D   Unliquidated
                                                              0   Disputed
 Who owes the debt? Check one.                                Nature of lien. Check all that apply.
    0     Debtor 1 only                                       0   An agreement you made (such as mortgage or secured
    D     Debtor 2 only                                           car loan)
    0     Debtor 1 and Debtor 2 only                          0   Statutory lien (such as tax lien, mechanic's lien)
    0     At least one of the debtors and another             0   Judgment lien from a lawsuit
                                                              0   Other (including a right to o f f s e t ) - - - - - - -- -
    0      Check if this claim relates to a
           community debt
    Date debt was incurred                                    Last 4 digits of account number _ _ _ _

               Add the dollar value of your entries in Column A on this page. Write that number here:

               If this is the last page of your form, add the dollar value totals from all pages.
               Write that number here:

 Official Form 1060                               Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page_of_

               Case 5:17-bk-00242-JJT                             Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                               Desc
                                                                  Main Document    Page 14 of 56
... -
        Debtor 1                                                                                          Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                        First Name    Mlddle Name         Last Name


                         List Others to Be Notified for a Debt That You Already Listed

    I Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection


    ~
        '   agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
             ou have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
             e notified for any debts in Part 1, do not fill out or submit this page.

                                                                                                     On which line in Part 1 did you enter the creditor?
               Name                                                                                  Last 4 digits of account number _ _ _ _


               Number        Street




               City                                          State           ZIP Code


    D          Name
                                                                                                     On which line in Part 1 did you enter the creditor? _ _

                                                                                                     Last 4 digits of account number _ _ _ _


               Number        Street




               City                                          State           ZIP Code
                                                                                                  ~~~~~~~~~~~~~~~~~~~~                                                 ---j
                                                                                                    On which line in Part 1 did you enter the creditor? _ _                 I
               Name                                                                                 Last 4 digits of account number _ _ _ _


               Number        Street




               City                                          State           ZIP Code


    D          Name
                                                                                                    On which line in Part 1 did you enter the creditor? _ _

                                                                                                    Last 4 digits of account number _ _ _ _


               Number        Street




               City                                          State           ZIP Code
        --------
        Official Form 1060                          Part 2 of Schedule D : Creditors Who Have Claims Secured by Property                              page _ of _

                      Case 5:17-bk-00242-JJT                    Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                          Desc
                                                                Main Document    Page 15 of 56
      Fill in this information to identify your cas e:


      Debtor 1

      Debtor 2
      (Spouse, if filing) First Name                  Middle Name                     Last Name


                                         ft jt/dk
      United States Bankruptcy Court for the:                       District of      ___
                                                                                  ~P~A-
                                                                                                                                                            D
      Case number
      (If known)
                            j t/ -0 di tf a.....                                                                                                                Check if this is an
                                                                                                                                                                amended filing


 Official Form 106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                        12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result In a claim. Also list executory contracts on Schedule
 AJB: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

                     List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
         ~Go to Part 2.

 2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
    each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
    nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
    unsecured claims , fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim , list the other creditors in Part 3.
        (For an explanation of each type of claim , see the instructions for this form in the instruction booklet.)
                                                                                                                                             Total claim   Priority     Nonprlority
                                                                                                                                                           a~oun_t      amou11t

           ~~~~.......,,,,,~~~· Aigits of account number k !}_ d- !}_      aa                                                            $     lt3t SA fJ!Z/51 _ _
                     6 ,53     When was the debt incurred? c2fJ /Q
                                        Ya_ l!t .
                                            1/ltdo ~
           Numt              Street/,



           City
                  .Jhd PA                    State     ZIP Code
                                                                           As of the date you file, the claim is: Check all that apply
                                                                           0      Contingent
                                                                           0      Unliquidated
           Wh~urred the debt? Check one.                                   0      Disputed
           Cifo~~t~r 1 only
           0 Debtor 2 only                                                 Type of PRIORITY unsecured claim:
           0 Debtor 1 and Debtor 2 only                                    c:J    D~stic support obligations
           0      At least one of the debtors and another
                                                                           ~xes and certain other debts you owe the government
           0      Check If this claim is for a community debt              0      Claims for death or personal injury while you were
           Is the claim subject to offset?                                        intoxicated
           0 No                                                            0      Other. Specify _ _ _ _ _ _ _ _ _ _ _ _ __
           D Yes
2.2                                                                        Last 4 digits of account number _          _    _    _        $ _ _ _ _ _ $_ _ _ _ _ $ _ _ _ _ _
           Priority Creditor's Name
                                                                           When was the debt incurred?
           Number            Street
                                                                           As of the date you file, the claim is : Check all that apply.
                                                                           D      Contingent
           City                              State     ZIP Code            0      Unliquidated
           Who incurred the debt? Check one.                               0      Disputed
           D Debtor 1 only                                                 Type of PRIORITY unsecured claim:
           0 Debtor 2 only
                                                                           D      Domestic support obligations
           0 Debtor 1 and Debtor 2 only
                                                                           0      Taxes and certain other debts you owe the government
           0 At least one of the debtors and another
                                                                           D      Claims for death or personal injury while you were
           0      Check if this claim is for a community debt                     intoxicated
           Is the claim subject to offset?                                 0      Other. Specify _ _ _ _ _ _ _ _ _ _ _ _ __
           D No
           D Yes                            h•------------·-------··-----·----------                                                                                   --·----_J
                                                                                                                                                                                      I




 Official Form 106E/F                                          Schedule EIF: Creditors Who Have Unsecured Claims                                                  page 1 of_

                   Case 5:17-bk-00242-JJT                            Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                                  Desc
                                                                     Main Document    Page 16 of 56
Debtor 1                                                                                                    Case number (if known) _ _ _ _ _ _ __ _ _ __ _ _ __
                   First Name     Middle Name           Last Name


                   Your PRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                              Total claim   Priority     Nonpriority
                                                                                                                                                  amount       amount


D                                                                   Last 4 digits of account number __ ______                       $_ _ _ _ _ $_ _ __         $_ _ __ _
     Priority Creditor's Name

                                                                    When was the debt incurred?
     Number              Street

                                                                    As of the date you file, the cla im is: Check all that apply.

                                                                    D   Contingent
     City                                 State   ZIP Code          D   Unliquidated
                                                                    D   Disputed
     Who incurred the debt ? Check one.
     D       Debtor 1 only                                          Type of PRIORITY unsecured claim :
     D       Debtor 2 only
                                                                    D   Domestic support obligations
     D       Debtor 1 and Debtor 2 only
                                                                    D   Taxes and certain other debts you owe the government
     D       At least one of the debtors and another
                                                                    D   Claims for death or personal injury while you were
                                                                        intoxicated
      D      Check if this claim is for a community debt
                                                                    D   Other. Specify _ _ _ _ _ __ _ __ _ _ __

     Is the claim subject to offset?
      D      No
      D      Yes


                                                                    Las t 4 digits of account number _ _ _ _                        $_ _ _ _ _ $_ _ __         $_ _ _ ___ ,
     Priority Creditor's Name

                                                                    When was the debt incurred?
     Number              Street

                                                                    As of the date you file, the claim is: Check all that apply.

                                                                    D   Contingent
     City                                 State   ZIP Code          D   Unliquidated
                                                                    D   Disputed
     Who Incurred the debt? Check one.
      D      Debtor 1 only                                          Type of PRIORITY unsecured claim :
      D      Debtor 2 only
                                                                    D   Domestic support obligations
      D      Debtor 1 and Debtor 2 only
                                                                    D   Taxes and certain other debts you owe the government
      D      At least one of the debtors and another
                                                                    D   Clai ms for death or personal injury while you were
                                                                        intoxicated
      D      Check if this claim is for a community debt
                                                                    D   Other. Specify _ _ _ __ _ _ _ _ _ _ _ __

      Is the claim subject to offset?
      D      No
      D      Yes


                                                                    Last 4 digits of account number _ _ _ _                         $._ _ _ _ _ $_ _ __        $_ _ _ __
      Priority Creditor's Name

                                                                    When was the debt incurred?
      Number             Street

                                                                    As of the date you file, the claim is: Check all that apply.

                                                                    D   Contingent
      City                                State    ZIP Code         0   Unliquidated
                                                                    D   Disputed
      Who incurred the debt? Check one.
      D      Debtor 1 on ly                                         Type of PRIORITY unsecured claim :
      D      Debtor 2 only
                                                                    D   Domestic support obligations
      0      Debtor 1 and Debtor 2 only
                                                                    D   Taxes and certain other debts you owe the government
      0      At least one of the debtors and another
                                                                    D   Claims for death or personal injury while you were
                                                                        intoxicated
      0      Check if this claim is for a community debt




l
                                                                                                                                                                             I
                                                                    0   Other. Specify _ _ _ _ _ _ _ _ __ __ __                                                              I

      Is the claim subject to offset?
      0
      0
             No
             Yes
                                                   -----·----··-------------·---·-------------··---------··-----------_J
                                                                                                                                                                             I
Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                    page_of_

             Case 5:17-bk-00242-JJT                           Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                                Desc
                                                              Main Document    Page 17 of 56
.   'Debtor 1                                                                                                     Case number (ff known)   11tJtJ02//V
                        List All of Your NONPRIORITY Unsecured Claims

        3. Do any creditors have nonpriority unsecured claims against you?
            ~u have nothing to report in this part. Submit this form to the court with your other schedules.


    I14.    List all of your non priority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
            nonpriority unsecured claim, list the creditor separately for each claim . For each claim listed, identify what type of claim it is. Do not list claims already
            included in Part 1. If more than one creditor holds a particular claim , list the other creditors in Part 3.lf you have more than three nonpriority unsecured
            claims fill out the Continuation Page of Part 2.

    I                                                                                                                                    /) .  r/  ~                       Total claim

                                                                                           ..J ~ast 4 digits of account number _         fS_.IJ ~                        ~ 661r J.ffl

    F                                                                                                                                           lfT
        1

                                                                                              When was the debt incurred?            /     i/j J           (}JjJ  /tJ
              Nu
              City
                      df-iSirfl
                           ~ ,!fe_/               f'A: /7q_t/   State         ZIP Code        As of the date you file, the claim is: Check all that apply.

                                                                                              0   Contingent
             Wtpcurred the debt? Check one.                                                   0   Unliquidated
              B Debtor 1 only                                                                 0   Disputed
              0      Debtor 2 only
              0      Debtor 1 and Debtor 2 only                                               Type of NONPRIORITY unsecured claim:
              0      At least one of the debtors and another                                  0   Student loans
              0      Check if this claim is for a community debt                              0   Obligations arising out of a separation agreement or divorce
                                                                                                  that you did not report as priority claims
             Is tl_)lt'claim subject to offset?                                               0   D~ts to pension or profit-shar)ng plans, a pthry...5similar debts
              !W'°No                                                                          6V6ther. Specify _...;,£-J..J-"-ci+-U.P.."--""£J.----'/..:ll-==----
              0      Yes

                                                                                              Last 4 digits of account number _            _           _                 $_,,,._+-...,_...._.,,.__..V'
              N°l:'ot;      c:ed~ am~          3J                                             When was the debt incurred?         ,Jfi It «~           J   o2./iJ / /o
                            L;.., ~1-J 0
               · M, ·/t!Jt2UJ..df
             Number
                                  k ..:JJ3t!J / -3/J'/3
                                 Stieet4                                                                                 .
                                                                                              As of the date you file, the claim is: Check all that apply.
             Cit Y '                                  J         State         ZIP Code        0   Contingent

             .....ho?rred the debt? Check one.                                                0   Unliquidated

              li}6ebtor 1 only
                                                                                              0   Disputed

              0 Debtor 2 only
                                                                                              Type of NONPRIORITY unsecured claim :
              0      Debtor 1 and Debtor 2 only
              0      At least one of the debtors and another                                  0   Student loans
                                                                                              0   Obligations arising out of a separation agreement or divorce
              0      Check if this claim is for a community debt                                  that Y.OU did not report as priority claims
              ~laim subject to offset?                                                        0   D~ to pension o~:t-shaing.plans, and other similar debts
                                                                                              ~her. Specify         ~ea.A           f {l4-f'LJ
              0      Yes

                                                                                              _Last 4 digits of account number                                                Jt 1           ~1
                           JJ:dia.~ame,f; rax 1 !IJ                f3                         When was the debt incurred?           l       . ~lh                        $\              ,

              Num77        /1,             I   ..J.
                   ~f]Q T J f / ;v(J;State (}fd~
                                   eet                    l /                  4
                                                      -;!Jr l s of the date you file , the claim is : Check all that apply.
                                                                                                                                                                                                   I
                                                                                                                                                                                                   I'
              City                           ZIP Code
                                                                                              0   Contingent
             WhoJIKti'rred the debt? Check one.
                                                                                              0   Unliquidated
              trDebtor 1 only                                                                 0   Disputed
              0      Debtor 2 only
              0      Debtor 1 and Debtor 2 only                                               Type of NONPRIORITY unsecured claim:
              0      At least one of the debtors and another
                                                                                              0   Student loans
              0      Check if this claim is for a community debt                              0   Obligations arising out of a separation agreement or divorce
                   ~claim subject to offset?
                                                                                                  that you did not report as priority claims
              Is
                                                                                              0   D_r to pension or)jrofit-sharing plan5Jind other similar debts
             e fNo
             0 Yes
                                                                                              UV6ther. specify       c:.JredA..± (j,fl. J?.L)

    Official Form 106E/F                                                Schedule E/F: Creditors Who Have Unsecured Claims                                                         page _ o f _

                      Case 5:17-bk-00242-JJT                               Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                                    Desc
                                                                           Main Document    Page 18 of 56
Debtor 1



                  Your NONPRIORIT                   Unsecured Claims - Continuation Page


I   After listing any entries on this page, number them beginning with                   4.4, followed by 4.5, and so forth.                                               Total claim




~ ifL& .v1~t1b6, !Lpid;;JJ.aw'2..f.rrirl!!L... '71t...7   ~ £()_  L
      p , (}' . 13.qs
        Nonpnonty     red1tor's




     ti.I las ,!)/) rre t9- u 2? .:a -
        Number
                          11
                               Str~' /
                                         me
                                                     u1     I.-, n;./U
                                       Whoow~thodobtlo'"""Uy./4<4
                                              'f)
                                                                                                                            "mb.,



                                                                                              As of the date you file, the claim is: Check all that apply.

        City          }        I                       7   State           Co;,.   r_7. _/    DD   Contingent
                                                                             / f.tZ./   :J         Unliquidated
        Who~urred the debt? Check one.                                                        D    Disputed
        01}ebtor 1 only
        D      Debtor 2 only
        D      Debtor 1 and Debtor 2 only
        D      At least one of the debtors and another
                                                                                              D    Obligations arising out of a separation agreement or divorce that
                                                                                                   you did not report as priority claims
        D      Check if this claim is for a community debt
                                                                                              D    Debts to pension or profit-sharing plans, and other similar debts
        Is   t~laim            subject to offset?                                             D    Other. Specify_ _ _ _ _ _ _ _ _ _ _ __
        [!("No
        D      Yes



4,
                                                                                              Last 4 digits of account number      £____/:Jd dftJ ,!)l}                $

                                                                                              When was the debt incurred?          ~~ d./J / ~
                                                                                                                                                     I
                                                                                              As of the date you file, the claim is : Check all that apply.

                                                                                              D    Contingent
                                                                                              D    Unliquidated
        Who_)l{curred the debt? Check one .                                                   D    Disputed
        IJ:Ybebtor 1 only
        D      Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim :
        D      Debtor 1 and Debtor 2 only                                                     D    Student loans
        D      At least one of the debtors and another
                                                                                              D    Obligations arising out of a separation agreement or divorce that
                                                                                                   you did not report as priority claims
        D      Check if this claim is for a community debt
                                                                                              D    ~to pension or p fit-sharing.pla s,
        Is   th~aim subject to offset?                                                        lSVOther. Specify_--1.;...<¥-~-4.4-.....l...--"ur&-f.:::><!./
        ~o
        D      Yes


t/,
                                                                                                                                          _If! _Q ..1         _./
                                                                                                                                    W
                                                                                              Last 4 digits of account number

                                                                                              When was the debt incurred?                         ()l(}Jb
                                                                                              As of the date you file, the claim is: Check all that apply.

                                                                                              D    Contingent

        Wh~urred the debt? Check o~                                                           D
                                                                                              D
                                                                                                   Unliquidated
                                                                                                   Disputed
        ~ebtor 1 only
        D      Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
        D      Debtor 1 and Debtor 2 only                                                     D    Student loans
        D      At least one of the debtors and another                                        D    Obligations arising out of a separation agreement or divorce that
                                                                                                   you did not report as priority claims
         D     Check if this claim is for a community debt
                                                                                              D    ~s to pension or profit-shfin~ plan~nd other similar debts
        Is   th~im subject to offset?                                                         P""other. specify     )4 ·t~f t/_/l4
         ~o
         D     Yes
                                                                                         - - - -·- --· - - - - - - - - · - · - - - - - - - - - - -


Official Form 106E/F                                               Schedule E/F: Creditors Who Have Unsecured Claims                                                   page_of_

               Case 5:17-bk-00242-JJT                               Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                                 Desc
                                                                    Main Document    Page 19 of 56
•Debtor 1                                                                                      Case number (ff known)


               List Others to Be Notified About a Debt That You Already Listed

 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed In Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

        )/g;;(J'O n 1111 'rJe__ ~tety!inl,ra!_
      l'lime                ;/}      h
                                               o" wMoh '"'"'"Part 1 ., Part 2 did you li•ttho •"•'""' "•dilo•?
       KfeJi5               i~a,e}t +t£ f./a_,vJ:,4:3
                                                 ·    Line U                        of (Check one) :   0 Pary : Creditors with Priority Unsecured Claims
      Number       Street            lJr. J _                                                          ~ 2: Creditors with Nonpriority Unsecured Claims
            Nor Q ro~s               }
                                         .~oo9                          Last 4 digits of account number     i       --1-1
                                                                                                                 6_ :__j    -..!:/




            Case 5:17-bk-00242-JJT                   Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                         Desc
                                                     Main Document    Page 20 of 56
Debtor 1                                                                                      Case number (ffknown)_ _ _ _ _ _ _ _ _ _ _ __ _ _ •
               First Name     Middle Name          l ast Name                                                                                       "

            Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
   Add the amounts for each type of unsecured claim.




                                                                                         Total claim


                 6a. Domestic support obligations                                6a .
Total claims                                                                             $
from Part 1
                 6b. Taxes and certain other debts you owe the
                     government                                                  6b.     $    7,afvSO
                 6c. Claims for death or personal injury while you were
                     intoxicated                                                 6c.
                                                                                         $

                 6d . Other. Add all other priority unsecured claims .
                      Write that amount here.                                    6d . + $




                 6e. Total. Add lines 6a through 6d .                            6e.
                                                                                         $    ft~~- 6(
                                                                                         Total claim


Total claims 6f. Student loans
from Part 2      6g. Obligations arising out of a separation agreement
                                                                                 6f.
                                                                                          ,Life; f#C/$. NJ
                     or divorce that you did not report as priority
                     claims                                                      6g .     $

                 6h. Debts to pension or profit-sharing plans, and other
                     similar debts                                               6h .    $

                 6i. Other. Add all other nonpriority unsecured claims.
                     Write that amount here.                                     6i.    + $   1'-1@'1 Jj
                 6j . Total. Add lines 6f through 6i.                            6j .
                                                                                          $
                                                                                              15/JJ lki?#l
                                                                                                                    --   ·- -·- ·--




 Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                               page_of_

           Case 5:17-bk-00242-JJT                         Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                             Desc
                                                          Main Document    Page 21 of 56
I
     Fill in this information to identify your case:


     Debtor

     Debtor 2
     (S pouse If filing )   First Name                 Middle Name                   Last Name


     United States Bankruptcy Court for the:   MitJ}{e_              District of   {?4
     Case number
     (If known)
                                 /If - t2fJcZY 2                                                                                           0   Check if this is an
                                                                                                                                               amended filing


    Official Form 106G
    Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
    additional pages, write your name and case number (if known).


     1. Do y¢have any executory contracts or unexpired leases?
          ~o. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form .
          0 Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule AIB: Property (Official Form 106A/B ).
     2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
        unexpired leases.



          Person or company with whom you have the contract or lease                             State what the contract or lease is for

r.;J
~ ~-------------------
          Name


          Number              Street


          City                                 State        ZIP Code

    2.2
          Name


          Number              Street


          Ci                                   State        ZIP Code

12.3
r--       Name


          Number              Street


          City                                 State        ZIP Code

    2.4
          Name

I
          Number              Street
I


8
II
          Ci!):



          Name


          Number              Street
                                               State        ZIP Code




I         City                                 State        ZIP Code


Official Form 106G                                     Schedule G: Executory Contracts and Unexpired Leases                                     page 1 of_

                  Case 5:17-bk-00242-JJT                               Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                Desc
                                                                       Main Document    Page 22 of 56
 Debtor 1                                                                                       Case number (ff known )_ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                First Name     Middle Name               Last Name




 -             Additional Page if You Have More Contracts or Leases

      Person or company with whom you have the contract or lease                             What the contract or lease is for


 ~    Name


      Number         Street


      City                                   State     Z IP Code


 ~
      Name


      Number         Street


      City                                   State     Z IP Code



 ~
      Name


      Number         Street


      City                                   State     ZIP Code



 ~    Name


      Number         Street


      City                                   State     Z IP Code



 ~    Name


      Number          Street


      City                                   State     Z IP Code



 ~
      Name


      Number          Street


       City                                  State      ZIP Code



 ~     Name


       Number         Street


       City                                  State      ZIP Code



 ~
       Name


       Number         Street


       City                                  State      ZIP Code




Official Form 106G                                   Schedule G: Executory Contracts and Unexpired Leases                               page _   of _

            Case 5:17-bk-00242-JJT                           Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                            Desc
                                                             Main Document    Page 23 of 56
     Debtor 1

     Debtor 2
     (Spouse , if filing) First Name                             Middle Name            l ast Name


     United States Bankruptcy Court for the:              )J :drJ/e_ystrictof ~P~k~--
     Case number
     (If known )
                               l 17 - (2 0J.. Lf £,_,,,
                                                                                                                                                              0   Check if this is an
                                                                                                                                                                  amended filing

    Official Form 106H
    Schedule H: Your Codebtors                                                                                                                                              12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

I 1.      Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)




                                                                                                                                                                           l
          0        t?
          ();Yes
     2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
        Arizofi, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin .)
          ~o. Go to line 3.
          D        Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                   D No
                   D    Yes. In which community state or territory did you live? - - - - - - - -· Fill in the name and current address of that person.



                        Name of your spouse, former spouse, or legal equivalent



                        Number            Street



                        City                                               State                      ZIP Code

     3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
         shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
         Schedule D (Official Form 106D), Schedule EIF (Official Form 106EIF), or Schedule G (Official Form 106G). Use Schedule D,
         Schedule EIF, or Schedule G to fill out Column 2.

           Column 1: Your codebtor                                                                                      Column 2: The creditor to whom you owe the debt

                                                                                                                         Che<J'll schedules that apply:
    3.1
                    Vdel A .,who; kn               I                                                                     \i"schedule D, line          a,b

              -: ~-'-'ro- '-:. ._O-r~
f3:21-:,:--- --- -
                                  J_Lfi_ ,_~_,_lt~A.V1'-+J- l-/;e.
                                                       .......
                                                                       J (.J -.ct=
                                                                                      ' a£!Yhl'--I~'--~-·__L1_·atL
                                                              Oo.li~o,...c.._c_l1J_1ea~i                       -ri~o,. .,. !1- -LI__ ~ ::~::~:: :,~;~:_e-_-
                                                                               -"""--- -- ----"' ~·--- -0-Sched~-le_D_, -line _-----~------ -----1
                                                                                                                                                                                    1




r
I
I             Number             Street
                                                                                                                         0
                                                                                                                         0
                                                                                                                             Schedule E/F, line _ __
                                                                                                                             Schedule G, line _ __

              City               -------·------=
                                               S=ta=              IPCode,,___ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _---1
                                                   te'----------~Z~
'
§]                                                                                                                       0   Schedule D, line
I             Name
                                                                                                                         0   Schedule E/F, line




                                                                                                                                                                                    ~
I             Number             Street                                                                                  0   Schedule G, line
II                                        ______________.::;;
                                                         Sta ::::t:e.::._ __
              Ci                                                                                 _ _ _ _j!'. IP Code - - - - - - - - - - - - - - - - - -
I
L_                                                                                                                    ~--------------------


Official Form 106H                                                                   Schedule H: Your Codebtors                                                    page 1 of_

                   Case 5:17-bk-00242-JJT                                      Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                       Desc
                                                                               Main Document    Page 24 of 56
                                                                                                                                            ....
 Debtor 1                                                                                               Case number Vfknown), _ _ _ _ _ _ _ _ _ _ _ _ _ __
                 First Name      Middle Name           Last Name




                 Additional Page to List More Codebtors

       Column 1: Your codebtor                                                                                 Column 2: The creditor to whom you owe the debt

I                                                                                                               Check all schedules that apply:
19                                                                                                              D    Schedule 0 , line _ __                      I
I      Name
                                                                                                                D    Schedule EIF, line
 l     Number          Street                                                                                   D    Schedule G, line                            II
I                                                                                                                                                                i
 tr_git                                                  __s_ta~te___________Z_I~ Code __ _
                                                                                                                                                   ----·----~
                                                                                                                                                                 I
 ~ -N-am-e--------------------------------                                                                      D    Schedule 0 , line _ __
 1                                                                                                              D    Schedule E/F, line _ __
                                                                                                                                                                 I

 b~-------------_§!_a_te
 1




ILJ
       Number




       Name
                       Street


                                                                   __________        ~~----·----
                                                                                                                D



                                                                                                                D
                                                                                                                     Schedule G, line



                                                                                                                            -·-----·----------·----~
                                                                                                                     Schedule 0 , line _ __
                                                                                                                                                                 I
                                                                                                                                                                 I


                                                                                                                D    Schedule E/F, line                          I
                                                                                                                D    Schedule G, line _ __
                                                                                                                                                                 I
       Number          Street
                                                                                                                                                                 II
 EJ ~-----·-------------__::~----------~~-------0 Sc~edule ~I~::-----------------~


I ::::.
[J
                     -=-------------~~~------------ZJ~-----~ ~'.: :·=-                                               :::::::

       Name
                                                                                                                D    Schedule 0, line
                                                                                                                D    Schedule E/F, line _ __
                                                                                                                D    Schedule G, line _ __
I
        Number         Street




 ~-· -:~-'.-e----------------s-ta-te                               ____  -_-_·~=------Z-IP co_d_e_·-_-_
                                                                                         ___                     __
                                                                                                      - -_-_·_-_ _
                                                                                                                0
                                                                                                                     S_c_h~d-:_0_0_1_in_e
                                                                                                                                  __________ - - · - - -


 '                                                                                                              D Schedule EIF, line
 \      Number         street                                                                                   D Schedule G, line _ __



 rr:--
 I

 1      Name
                                               - - - - - - - State ____________ZIP Code - - · - - - - - - - - · - - - -

                                                                                                                D
                                                                                                                D
                                                                                                                     Schedule 0 , line
                                                                                                                     Schedule E/F, line

 I      Number          Street                                                                                  D    Schedule G , line


 I[]    Cit                                             State     ZIP Code
                                                     ·--------------·----------------·---·--·--1
 I      Name
                                                                                                                D    Schedule 0 , line _ __
                                                                                                                D    Schedule E/F, line
 i      Number          Street                                                                                  D    Schedule G, line

 I      Ci                                                  State                      ZIP   Code



Official Form 106H                                                  Schedule H: Your Codebtors                                                        page_of_

              Case 5:17-bk-00242-JJT                        Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                            Desc
                                                            Main Document    Page 25 of 56
    Fill in this information to identify your case:


    Debtor 1

    Debtor 2
    (Spouse, if filing) First Name             Middle Name                   Last Name


    United States Bankruptcy Court for   the,}1jdJ...t       District of   PA
    Case number
    (If known)
                          (   J ~ 60 aif°=:                                                                        Check if this is:
                                                                                                                   D An amended filing
                                                                                                                   D   A supplement showing postpetition chapter 13
                                                                                                                       income as of the following date:
Official Form 1061                                                                                                     MM I DD/ YYYY

Schedule I: Your Income                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


f§fi                  Describe Employment


11. Fill in your employment
       information.                                                                Debtor 1                                       Debtor 2 or non-filing spouse

      If you have more than one job,
      attach a separate page with
      information about additional           Employment status                  ~,frnployed                                       D    Employed
      employers.                                                                D   Not employed                                  D    Not employed
      Include part-time, seasonal, or
      self-employed work.
                                             Occupation
      Occupation may include student
      or homemaker, if it applies.
                                             Employer's name


                                             Employer's address
                                                                               Number     Street                                Number    Street




                                                                              /f_,e~tlt'rJi ,.e4zi1§.a I] ~c-ity                       _____          st-ate_z_1P~co_d_e
                                                                                                                                                                       -


                                             How long employed there?            0 years ~ Cl /ti/!ftlJa
                                                                                         ..,5/fl (ff___ /Jee, If) r} () f.3
1


f §FM                Give Details About Monthly Income

      Estimate monthly income as of the date you file this form . If you have nothing to report for any line , write $0 in the space. Include your non-filing
      spouse unless you are separated .
      If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
      below. If you need more space, attach a separate sheet to this form .

                                                                                                           For Debtor 1          For Debtor 2 or
                                                                                                                                 non-filing spouse
    2. List monthly gross wages, salary, and commissions (before all payroll
       deductions). If not paid monthly, calculate what the monthly wage would be.                 2.
                                                                                                         $). g_   '-/o1"" h<t      $

    3. Estimate and list monthly overtime pay.                                                     3. +$      J_                + $


    4. Calculate gross income. Add line 2 + line 3.                                                4.   I $1l/J~1bhtl I            $



Official Form 1061                                                         Schedule I: Your Income                                                           page 1

                 Case 5:17-bk-00242-JJT                         Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                            Desc
                                                                Main Document    Page 26 of 56
Debtor 1                                                                                                                                        Case number (if known),_    _ __ __ _ _ __        _ _ __    _
                      First Name           Middle Name                   Last Name



                                                                                                                                            For Debtor 1                   For Debtor 2 or
                                                                                                                                                                           non-filing seouse
      Copy line 4 here ........... ... .. ... .... ................ .................... ....... ........ .. .... ....... .. ..... . ~ 4.   $.gtffJ'J, h8'                   $
i
I 5. List all payroll deductions:
!
       Sa. Tax, Medicare, and Social Security deductions                                                                             Sa.    $   i.fJ.~i .~D                  $
       Sb. Mandatory contributions for retirement plans                                                                              Sb.    $    L41,aLf                     $
       Sc. Voluntary contributions for retirement plans                                                                              Sc.    $                                $
       Sd. Required repayments of retirement fund loans                                                                              Sd .   $                                $
       Se. Insurance
       Sf. Domestic support obligations
                                                                                                                                    Se.     $     d-?Jez-.a                  $
                                                                                                                                     Sf.    $                                $
       Sg. Union dues                                                                              I            A __ J              Sg.     $                                $
       Sh. Other deductions. Specify:                     ,/lied_ i &J-$ffWA ('crt1(L::t'1                                          Sh. +$

    6. Add the payroll deductions . Add lines Sa+ Sb + Sc+ Sd + Se +Sf+ Sg + Sh .                                                     6.

    7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                           7.

' B. List all other income regularly received:

       Ba . Net income from rental property and from operating a business,
            profession, or farm
             Attach a statement for each property and business showing gross
             receipts , ordinary and necessary business expenses, and the total                                                             $_ _ _ __                        $_ _ _ _ __
             monthly net income.                                                                                                    Ba .
       Bb. Interest and dividends                                                                                                   Bb.     $_ _ _ __                        $_ _ _ __
       Be. Family support payments that you, a non-filing spouse, or a dependent
           regularly receive
             Include alimony, spousal support, child support, maintenance, divorce                                                          $_ _ _ __                        $_ _ _ _ __
             settlement, and property settlement.                                                                                   Be.
       Bd. Unemployment compensation                                                                                                Bd .    $_ _ _ __                        $_ _ _ __
       Be . Social Security                                                                                                         Be.     $_ _ _ __                        $_ _ _ __
       Bf. Other government assistance that you regularly receive
           Include cash assistance and the value (if known) of any non-cash assistance
           that you receive , such as food stamps (benefits under the Supplemental
           Nutrition Assistance Program) or housing subsidies.
           Specify:                                                                  Bf.                                                                                     $_ _ _ __
                                                                                                                                            $----.---
       Bg . Pension or retirement income                                                                                            Bg .    $    ,vtt, tttJ                  $_ _ _ __

       Bh . Other monthly income. S p e c i f y : - - - - - - - - - - - - - -                                                                                              +$
    9. Add all other income. Add lines Ba + Bb + Be + Bd + Be + Bf +Bg + Bh.

' 10.Calculate monthly income. Add line 7 +line 9.
:    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

, 11 . State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates , and other
      friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
      Specify:                                                                                                                                                                             11 . + $_   _,Q"'-----
! 12. Add  the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
      Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                                   12.   MILzJlf, /~I
                                                                                                                                                                                                 Combined
                                                                                                                                                                                                 monthly income
    13. Do y~xpect an increase or decrease within the year after you file this form?
        uYNo.
        0    Yes. Explain:


Official Form 1061                                                                               Schedule I: Your Income                                                                           page 2

             Case 5:17-bk-00242-JJT                                             Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                                                  Desc
                                                                                Main Document    Page 27 of 56
.   .




                                                                                                                  Check if this is:
          Debtor 2
          (Spouse, if filing) First Name              Middle Name                 l ast Name
                                                                                                                  D   An amended filing

          United States Bankruptcy Court for the:   MiJJ      (:_District of   PA=                                D   A supplement showing postpetition chapter 13
                                                                                                                      expenses as of the following date:
          Case number
          (If known)            I
                                 /   A/ _. 00 CJ 'i ~                                                                 MM I DD/ YYYY



        Official Form 106J
        Schedule J: Your Expenses                                                                                                                               12/15

        Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
        information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
        (if known). Answer every question.

                            Describe Your Household

        1. Is t'?'a joint case?

           cw'No. Go to line 2.
           0  Yes. Does Debtor 2 live in a separate household?

                       D     No
                       0     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.



                                                    ~s.
        2. Do you have dependents?
                                                                                               Dependent's relationship to             Dependent's   Does dependent live
          Do not list Debtor 1 and                             Fill out this information for   Debtor 1 or Debtor 2                    age           with you?
          Debtor 2.                                     each dependent... ....... .... ............ -~
                                                                                                     --


                                                                                                      1
                                                                                                          1
                                                                                                       /-
                                                                                                        ~--
          Do not state the dependents'                                                                                                 _l!j_         ~     es
          names .
                                                                                                                                        J,,          ~     es

                                                                                                                                                     D    No
                                                                                                                                                     D    Yes

                                                                                                                                                     D    No
                                                                                                                                                     D    Yes

                                                                                                                                                     D    No
                                                                                                                                                     D    Yes

        3. Do your expenses include
          expenses of people other than
                                                    ~o
           ourself and your de endents?             D   Yes


                        Estimate Your Ongoing Monthly Expenses

        Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
        expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
        applicable date.
        Include expenses paid for with non-cash government assistance if you know the value of
        such assistance and have included it on Schedule I: Your Income (Official Form 1061.)                                             Your expenses

        4. The rental or home ownership expenses for your residence. Include first mortgage payments and
           any rent for the ground or lot.                                                                                       4.      $   ,5/J     f   07
            If not included in line 4:
             4a.    Real estate taxes                                                                                            4a.

             4b. Property, homeowner's, or renter's insurance                                                                    4b.

             4c.    Home maintenance, repair, and upkeep expenses                                                                4c.

             4d.    Homeowner's association or condominium dues                                                                  4d.


    Official Form 106J                                                   Schedule J : Your Expenses                                                         page 1


                       Case 5:17-bk-00242-JJT                       Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                       Desc
                                                                    Main Document    Page 28 of 56
 Debtor 1                                                                                  Case number (if known) _ _ _ __ _ _ __ _ _ _ _ __
                 First Name     Middle Name        last Name




                                                                                                                       Your expenses


 5. Additional mortgage payments for your residence , such as home equity loans                             5.
                                                                                                                   $     d<i:          /)/j


                                                                                                                         ~'oDf
 6. Utilities:
      6a.   Electricity, heat, natural gas                                                                  6a.    $
      6b. Water, sewer, garbage collection                                                                  6b.    $
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                  6c.    $     Lfoo , !J {)_
      6d.   Other. Specify:------- - - - - - - - - - - - - -                                                6d.    $-
 7. Food and housekeeping supplies                                                                          7.     $     ~£t)!J' t)_ ()
 8. Childcare and children's education costs                                                                8.     $
 9. Clothing, laundry, and dry cleaning                                                                     9.     $     .J)'/J
                                                                                                                          .. I         OD
10. Personal care products and services                                                                     10.    $     ":.004 DD
11. Medical and dental expenses                                                                             11 .   $       f_.D. DD
                                                                                                                           !6 ' () ()
12. Transportation. Include gas, maintenance, bus or train fare .
                                                                                                                   $
    Do not include car payments.                                                                            12.

13. Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.    $
14. Charitable contributions and religious donations                                                        14.    $
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                   15a.   $
      15b. Health insurance                                                                                 15b.   $
      15c. Vehicle insurance                                                                                15c.   $
      15d. Other insurance. Specify:___________________                                                     15d.   $

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20 .

      Specify: - - - - - - - - - - - - - - - - - - - - - - - - -                                            16.    $

17. Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                       17a.   $     J'f!J~ ~£
      17b. Car payments for Vehicle 2                                                                       17b.   $
      17c. Other. Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                         17c.   $
      17d. Other. Specify:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                          17d.   $

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
    your pay on line 5, Schedule I, Your Income (Official Form 1061).                                        18.
                                                                                                                   $

19. Other payments you make to support others who do not live with you.
      Specify:_ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ __ _ _ _ __                                                 19.   $

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                      20a.   $

      20b. Real estate taxes                                                                                20b.   $
      20c. Property, homeowner's, or renter's insurance                                                     20c.   $
      20d. Maintenance, repair, and upkeep expenses                                                         20d.   $
      20e. Homeowner's association or condominium dues                                                      20e.   $


Official Form 106J                                             Schedule J: Your Expenses                                                  page2


            Case 5:17-bk-00242-JJT                     Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                 Desc
                                                       Main Document    Page 29 of 56
     ..

 Debtor 1                                                                                       Case number (if known,)_ -- --   - - - -- - - - --
                  First Name       Middle Name         Last Name




21. Other. Specify:                                                                                                 21 .   +$


22. Calculate your monthly expenses.

     22a. Add lines 4 through 21 .                                                                                22a.     $     J :!J 111/, (p b
     22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                         22b.     $
     22c. Add line 22a and 22b . The result is your monthly expenses .                                            22c.     $     d.3 17'/, 6~

23. Calculate your monthly net income.
   23a.      Copy line 12 (your combined monthly income) from Schedule I.                                          23a.
                                                                                                                            $    J b)'1ll JJ
   23b.      Copy your monthly expenses from line 22c above.                                                       23b.    -$    Ji/J_ Aj~l bb
   23c.      Subtract your monthly expenses from your monthly income .
             The result is your monthly net income.                                                                23c.
                                                                                                                            $    d 'f!j_ L/ !/;
                                                                                                                                         I




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example , do you expect to finish paying for your car loan within the year or do you expect your
    mo,.age payment to increase or decrease because of a modification to the terms of your mortgage?

   l!"No.         r--------·--·--·-·---- ---·-·--·--------·-·-·----- - -------·- - - - - ---- - --- -----· ··-- ------- ----- ---·--- -- - -   -- --
   0      Yes .        Explain here:   N{)I) (.,,. ,                                                                                                   -·1

                  '
                  _,  ----- ---·---------------------------------------
                                                                                                                                       _j




Official Form 106J                                                 Schedule J: Your Expenses                                                    page 3



             Case 5:17-bk-00242-JJT                          Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                   Desc
                                                             Main Document    Page 30 of 56
                                                                                                                 Check as directed in lines 17 and 21:
                                                                                                                 According to the calculations required by
  Debtor 1                                                                                                       this Statement:

  Debtor2                                                                                                       ~. Disposable income is not determined
  (Spouse , if filing) First Name                 Middle Name          Last Name                                       under 11 U.S.C. § 1325(b)(3).

                                         'Jd/~strict of _--11-{J_._A-_.__
  United States Bankruptcy Court for the:)/,                                                                    0    2. Disposable income is determined
                                                                                                                        under 11 U.S.C. § 1325(b)(3).
  Case number
  (If known)
                         /Ar        -Ooa/f~                                                                     [tt?.~he commitment period is 3 years.
                                                                                                                D 4. The commitment period is 5 years.
                                                                                                                D Check if this is an amended filing

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known) .


                 Calculate Your Average Monthly Income

1. What is your marital and filing status? Check one only.
  0      N¥arried. Fill out Column A, lines 2-11.
  ~rried. Fill out both Columns A and B, lines 2-11 .
   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
   bankruptcy case. 11 U .S.C. § 101 (1 OA). For example, if you are filing on September 15, the 6-month period would be March 1 through
   August 31 . If the amount of your monthly income varied during the 6 months, add the iricome for all 6 months and divide the total by 6. Fill in
   the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income
   from that property in one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                    Column A              ColumnB
                                                                                                    Debtor 1              Debtor 2 or
                                                                                                                          non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
   payroll deductions).

3. Alimony and maintenance payments. Do not include payments from a spouse.
                                                                                                     $ _ _ _ __             $_ _ _ __

4. All amounts from any source which are regularly paid for household expenses of
   you or your dependents, including child support. Include regular contributions from
   an unmarried partner, members of your household , your dependents, parents, and
   roommates . Do not include payments from a spouse. Do not include payments you
   listed on line 3.                                                                                 $_{)_                  $_ _ _ __

5. Net income from operating a business, profession, or                            Debtor 2
                                                                      Debtor 1
   farm
                                                                       $- - -      $
   Gross receipts (before all deductions)                                           ---
   Ordinary and necessary operating expenses                         -$_ _ -$
                                                                             ---
                                                                                        Copy
   Net monthly income from a business, profession, or farm             $_ _                                                $_ _ _ __
                                                                                   $_ _ here.+       $

6. Net income from rental and other real property                     Debtor 1     Debtor2

   Gross receipts (before all deductions)                              $_ _        $- - -

   Ordinary and necessary operating expenses                         -$_ _ -$_ _
                                                                                          Copy                             $_ _ __
   Net monthly income from rental or other real property               $_ _        $- - - here.+     $



 Official Form 122C-1                    Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                      page 1


               Case 5:17-bk-00242-JJT                           Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                               Desc
                                                                Main Document    Page 31 of 56
 Debtor 1                                                                        nn
                                                                                  Last Name
                                                                                                     W                                                               Case number (ff known)             I1 , - 0 (} cJ(, L/ ~
                                                                                                                                                                    Column A                               ColumnB
                                                                                                                                                                    Debtor 1                               Oebtor2 or
                                                                                                                                                                                                           non-filing spouse

7. Interest, dividends, and royalties                                                                                                                                $_ _ __ _                                 $ _ _ _ __

8. Unemployment compensation                                                                                                                                         $_ _ _ __                                 $_ _ __

   Do not enter the amount if you contend that the amount received was a benefit under
   the Social Security Act. Instead , list it here: ...................................... . ~

       For you ...... ........................ ..................... ............................... .            $_ _ _ _ __
       For your spouse .... ............................................ ...... .............                     $_ _ _ _ __

9. Pension or retirement income. Do not include any amount received that was a
   benefit under the Social Security Act.                                                                                                                                                                     $_ _ __

10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act or payments
     received as a victim of a war crime, a crime against humanity, or international or
     domestic terrorism. If necessary, list other sources on a separate page and put the
    total below.
                                                                                                                                                                     $_ _ _ __                               $_ _ _ __
                                                                                                                                                                     $_ _ _ __                               $_ _ _ __

     Total amounts from separate pages, if any.                                                                                                                 +$_ _ _ __                               +$_ _ __

11. Calculate your total average monthly income. Add lines 2 through 1O for each
   column . Then add the total for Column A to the total for Column B.
                                                                                                                                                                                                                                                  Total average
                                                                                                                                                                                                                                                  monthly income




                   Determine How to Measure Your Deductions from Income

12. Copy your total average monthly income from line 11.

13. Calculate the marital adjustment. Check one:

   0     You are not married. Fill in O below.

                 are married and your spouse is filing with you. Fill in 0 below.
            ou are married and your spouse is not filing with you.
          Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of
          you or your dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than
          you or your dependents.
          Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary,
          list additional adjustments on a separate page.

          If this adjustment does not apply, enter 0 below.

                                                                                                                                                                       $_ _ _ __
                                                                                                                                                                       $_ _ _ __

                                                                                                                                                                     +$_ _ _ __

         Total.. .................. ........... .. ............. ...................................... ........................... .............................    ~-$-----~' Copy here+
                                                                                                                                                                                                                                                    [)
14. Your current monthly income. Subtract the total in line 13 from line 12.


15. Calculate your current monthly income for the year. Follow these steps:

    15a. Copy line 14 here                  + .............................. . ................................ . . ........................ ................................................................... ................. ......
            Multiply line 15a by 12 (the number of months in a year).                                                                                                                                                                       x     12

    15b. The result is your current monthly income for the year for this part of the form . .. ... ........................................ .. .................................. 1                                                         $   tf!S';/'/J;.,'t
 Official Form 122C-1                               Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                                              page 2


             Case 5:17-bk-00242-JJT                                                       Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                                                                                       Desc
                                                                                          Main Document    Page 32 of 56
                                                                                                                                                                                                           I~            4'

 Debtor 1                                                                                                                                                          Case number (if known)             0 t) ~ tf().__
16. Calculate the median family income that applies to you. Fo.!Ww these steps:
     16a. Fill in the state in which you live.                                                                  PA-
     16b. Fill in the number of people in your household .


     16c. Fill in the median family income for your state and size of household . ............ .. ........................... ...... .............................................. .
          To find a list of applicable median income amounts, go online using the link specified in the separate
          instructions for this form . This list may also be available at the bankruptcy clerk's office.




      17a.           Line 15b is less than or equal to line 16c. On the top of page 1 of this form , check box 1, Disposable income is not determined under
                     11U.S.C. §1325{b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).

      17b.   D       Line 15b is more than line 16c. On the top of page 1 of this form , check box 2, Disposable income is determined under
                     11U.S.C.§1325(b)(3) . Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2).
                     On line 39 of that form, copy your current monthly income from line 14 above.


                       Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)


18. Copy your total average monthly income from line 11 . ................................................................................................. ............... .. ..... .

19. Deduct the marital adjustment if it applies . If you are married , your spouse is not filing with you, and you contend that
     calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse's income, copy
     the amount from line 13.
      19a. If the marital adjustment does not apply, fill in 0 on line 19a .......... ............................................ .............. .. ................... ....... .
                                                                                                                                                                                                                                   -$_/)__
     19b. Subtract line 19a from line 18.                                                                                                                                                                                         I   $.gga1. :s11
20. Calculate your current monthly income for the year. Follow these steps :

     20a . Copy line 19b.. ......... ...... ................ ........................................................................ ............. ..... .. ........... ...... ................................... ......... .
                                                                                                                                                                                                                                      $.   1fOttJ J9
              Multiply by 12 (the number of months in a year).                                                                                                                                                                     x 12
     20b . The result is your current monthly income for the year for this part of the form.
                                                                                                                                                                                                                                  I $1~711· i;t_
     2oc. Copy the median family income for your state and size of household from line 16c................................................. ... .......... ......
                                                                                                                                                                                                                                  I $qq _0901
                                                                                                                                                                                                                                            I
                       e lines compare?

            ine 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3,
           The commitment period is 3 years. Go to Part 4.
     D Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
           check box 4, The commitment period is 5 years. Go to Part 4.


                     Sign Below


                     By signing h                                                                                                               on this statement and in any attachments is true and correct.



                                                                                                                                                        Signature of Debtor 2


                           Date           fJ/ J) 1 ( /                                                                                                  Date _ _ _ _ _ __
                                    ~                                                                                                                            MM /       DD       /YYYY


                     If you checked 17a, do NOT fill out or file Form 122C-2.
                     If you checked 17b, fill out Form 122C-2 and file it with this form . On line 39 of that form, copy your current monthly income from line 14 above.



  Official Form 122C-1                                Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                                    page 3


                  Case 5:17-bk-00242-JJT                                                    Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                                                                                Desc
                                                                                            Main Document    Page 33 of 56
 Fill in this information to identify your case:

 Debtor 1                                                                                                  AJ()+
 Debtor 2
 (Spouse, if filin g) First Name




 Case number
                                                Middle Name


                                    /'1 ;tit/ le District of
 United States Bankruptcy Court for the:

                       /2 -t) fJfl. 'fav
                                                                                                            A-pf! /J aoJ°'-le_)
                                                                                                                             {_pJ{!_-J 17
 (If known)

                                                                                                                   D Check if this is an amended filing

Official Form 122C-2
Chapter 13 Calculation of Your Disposable Income                                                                                                 04/16
To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
Commitment Period {Official Form 122C-1 ).
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).



                  Calculate Your Deductions from Your Income



    The Internal Revenue Service {IRS) issues National and Local Standards for certain expense amounts. Use these amounts
    to answer the questions In lines 6-15. To find the IRS standards, go online using the link specified In the separate
    instructions for this form. This information may also be available at the bankruptcy clerk's office.

   Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form , you will use
   some of your actual expenses if they are higher than the standards. Do not include any operating expenses that you
   subtracted from income in lines 5 and 6 of Form 122C-1, and do not deduct any amounts that you subtracted from your
   spouse's income in line 13 of Form 122C-1 .

   If your expenses differ from month to month, enter the average expense.

   Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.




     5. The number of people used in determining your deductions from income
        Fill in the number of people who could be claimed as exemptions on your federal income tax
        return , plus the number of any additional dependents whom you support. This number may
        be different from the number of people in your household .
                                                                                                                      D
      National
                                   You must use the IRS National Standards to answer the questions in lines 6-7.
      Standards



     6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
        Standards, fill in the dollar amount for food , clothing , and other items.                                                   $_ _ __



     7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National
        Standards, fill in the dollar amount for out-of-pocket health care. The number of people is split into two
        categories-people who are under 65 and people who are 65 or older-because older people have a higher IRS
        allowance for health care costs. If your actual expenses are higher than this IRS amount, you may deduct the
        additional amount on line 22.




Official Form 122C-2                                     Chapter 13 Calculation of Your Disposable Income                                            page 1



              Case 5:17-bk-00242-JJT                          Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                 Desc
                                                              Main Document    Page 34 of 56
Debtor 1                                                                                                                    Case number (ff known) _ _ __ _ _ __ _ __ __ __
                 First Name         Middle Nam e             Last Name




             People who are under 65 years of age

              la . Out-of-pocket health care allowance per person $_ _ _ _ __

              lb. Number of people who are under 65                                   x
              l e . Subtotal. Multiply line 7a by line 7b .


               People who are 65 years of age or older
                                                                                     r- -                          Copy
                                                                                                                   here+
                                                                                                                                 $_ _ _ __




              ld . Out-of-pocket health care allowance per person $_ _ _ _ __

              le . Number of people who are 65 or older                              X
                                                                                                                   Copy
              lt. Subtotal. Multiply line 7d by line 7e.                                                           here+       + $_ _ _ _ _

        lg . Total. Add lines 7c and 7f. ................................................ .. .................... ........... ....................1.._$___; ; ] Copy here+ .......   $_ _ __


       Local
                         You must use the IRS Local Standards to answer the questions in lines 8-15.
       Standards

   Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
   bankruptcy purposes into two parts:
   •    Housing and utilities - Insurance and operating expenses
   •    Housing and utilities - Mortgage or rent expenses

   To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link
   specified In the separate instructions for this form. This chart may also be available at the bankruptcy clerk's office.

   B. Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5 , fill
        in the dollar amount listed for your county for insurance and operating expenses.
                                                                                                                                                                                     $._ __


   9. Housing and utilities - Mortgage or rent expenses:

              9a. Using the number of people you entered in line 5, fill in the dollar amount
                                                                                                                                 $_ __ _ __
                  listed for your county for mortgage or rent expenses .
              9b . Total average monthly payment for all mortgages and other debts secured by
                   your home.
                   To calculate the total average monthly payment, add all amounts that are
                   contractually due to each secured creditor in the 60 months after you file
                   for bankruptcy. Next divide by 60 .

                         Name of the creditor                                             Average monthly
                                                                                          payment

                                                                                           $_ _ _ __
                                                                                           $_ _ __

                                                                                     +     $
                                  9b. Total average monthly payment
                                                                                     l_$--~                        Copy                  Repeat this amount
                                                                                                                   here+ - $ - - - - - o n line 33a.

             9c. Net mortgage or rent expense.
                  Subtract line 9b (Iola/ average monthly payment) from line 9a (mortgage or                                     $______ , Copy here+ .......                        $_ _ __
                  rent expense) . If this number is less than $0, enter $0.

   10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and affects                                                          $
        the calculation of your monthly expenses, fill in any additional amount you claim.                                                                                            ----
              Explain
              why:




Official Form 122C-2                                           Chapter 13 Calculation of Your Disposable Income                                                                                page 2



           Case 5:17-bk-00242-JJT                                   Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                                                   Desc
                                                                    Main Document    Page 35 of 56
Debtor 1                                                                                                       Case number (ffknown),_ __ __ _ _ _ _ _ __ _ __
                  First Name      Middle Name           Last Name



   11 . Local transportation expenses : Check the number of vehicles for which you claim an ownership or operating expense.

              D      0. Go to line 14.
              D      1.Gotoline12.
              D      2 or more . Go to line 12.


   12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the operating
       expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area .                                        $_ _


   13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for
       each vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle. In
       addition, you may not claim the expense for more than two vehicles.


           Vehicle 1            Describe Vehicle 1:




       13a. Ownership or leasing costs using IRS Local Standard ...... ..... ........ ........ ....... .....       $ _ _ _ _ __

       13b. Average monthly payment for all debts secured by Vehicle 1.
                Do not include costs for leased vehicles.
                To calculate the average monthly payment here and on line 13e,
                add all amounts that are contractually due to each secured
                creditor in the 60 months after you file for bankruptcy. Then divide
                by60.
                  Name of each creditor for Vehicle 1                  Average monthly
                                                                       payment
                                                                          $_ _ __

                                                                      +   $
                                                                                                 Copy                               Repeat this amount
                               Total average monthly payment                                                   -$_ _ _ __
                                                                     L__:$ !-_ _ _ __
                                                                                                 !
                                                                                               __Jhere+                             on line 33b.

       13c. Net Vehicle 1 ownership or lease expense                                                           J                     Copy net Vehicle
                Subtract line 13b from line 13a. If this number is less than $0, enter $0 . ..... ..... .. ....L_$::::::::=====_,    1 expense here+
                                                                                                                                                         $_ _


           Vehicle 2            Describe Vehicle 2:




       13d. Ownership or leasing costs using IRS Local Standard .......... .............. ...... .....          $._ _ _ __

       13e. Average monthly payment for all debts secured by Vehicle 2.
                Do not include costs for leased vehicles.

                  Name of each creditor for Vehicle 2                  Average monthly
                                                                       payment
                                                                          $_ _ __
                                                                      +   $
                                                                                     Copy                                           Repeat this amount
                               Total average monthly payment L
                                                                     I
                                                             . -$- = ! - - - - - - - here'"7"    I
                                                                                          ...3lo..
                                                                                                               -$._ _ _ __          on line 33c.


           13f. Net Vehicle 2 ownership or lease expense                                                       ~~
                                                                                                               $
                                                                                                                                     Copy net Vehicle
                                                                                                                                     2 expense here      $_ _
                Subtract line 13e from 13d. If this number is less than $0, enter $0.......... .... ......                           +


   14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public                            $_ _
       Transportation expense allowance regardless of whether you use public transportation.

   15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
       deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim                        $_ _
       more than the IRS Local Standard for Public Transportation .


Official Form 122C-2                                      Chapter 13 Calculation of Your Disposable Income                                                       page 3



             Case 5:17-bk-00242-JJT                            Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                            Desc
                                                               Main Document    Page 36 of 56
Debtor 1                                                                                                     Case number (ff known) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name     Middle Name          Last Name




                                                                                                                                                                                               l
     Other Necessary                In addition to the expense deductions listed above, you are allowed your monthly expenses for the
     Expenses                       following IRS categories.

   16. Taxes: The total monthly amount that you actually pay for federal , state and local taxes, such as income taxes,
       self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld
       from your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected                                                                 $_ _
       refund by 12 and subtract that number from the total monthly amount that is withheld to pay for taxes.
       Do not include real estate , sales, or use taxes.

   17. Involuntary deductions: The total monthly payroll deductions that your job requ ires , such as retirement contributions,
       union dues, and uniform costs.
       Do not include amounts that are not required by your job, such as voluntary 401 (k) contributions or payroll savings.                                                       $_ _

   18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
       together, include payments that you make for your spouse's term life insurance.
       Do not include premiums for life insurance on your dependents, for a non-filing spouse's life insurance, or for any form of
       life insurance other than term.                                                                                                                                             $_ _

   19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
       agency, such as spousal or child support payments.                                                                                                                          $_ _
       Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

   20. Education: The total monthly amount that you pay for education that is either required :
       • as a condition for your job, or                                                                                                                                           $_ _
       • for your physically or mentally challenged dependent child if no public education is available for similar services.

   21 . Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
        Do not include payments for any elementary or secondary school education .                                                                                                 $_ _

   22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that is
       required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a health
       savings account. Include only the amount that is more than the total entered in line 7.
                                                                                                                                                                                   $_ _
       Payments for health insurance or health savings accounts should be listed only in line 25.

   23 . Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services
       for you and your dependents, such as pagers, call waiting , caller identification, special long distance, or business cell
       phone service, to the extent necessary for your health and welfare or that of your dependents or for the production of
       income, if it is not reimbursed by your employer.                                                                                                                       +   $_ _ __
       Do not include payments for basic home telephone, internet or cell phone service. Do not include self-employment
       expenses, such as those reported on line 5 of Form 122C-1, or any amount you previously deducted.

   24. Add all of the expenses allowed under the IRS expense allowances.                                                                                                           $_ __
       Add lines 6 throuQh 23 .

     Additional Expense                    These are additional deductions allowed by the Means Test.
     Deductions                            Note: Do not include any expense allowances listed in lines 6-24.

   25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
       insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
       your dependents.
           Health insurance                                        $_ _ _ __

           Disability insurance                                    $_ _ _ __
           Health savings account                              + $
           Total                                                   $_ _ __
                                                               ~------~
                                                                                  ICopy total here.+ .................................................................. ....       $_ _ __

           Do you actually spend this total amount?
       0No. How much do you actually spend?
                                                                   $_ _ __
       0Yes

    26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will
        continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
        your household or member of your immediate family who is unable to pay for such expenses. These expenses may                                                               $_ _
        include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).

    27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of
        you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.                                                                $_ _
           By law, the court must keep the nature of these expenses confidential.


Official Form 122C-2                                     Chapter 13 Calculation of Your Disposable Income                                                                                    page4



            Case 5:17-bk-00242-JJT                           Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                                                        Desc
                                                             Main Document    Page 37 of 56
Debtor 1                                                                                                                                Case number (ff known)_ _ _ _ _ _ _ _ _ _ _ _ _ __
                  First Name           Middle Name                  Last Name




   28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.
       If you believe that you have home energy costs that are more than the home energy costs included in expenses on line 8,
       then fill in the excess amount of home energy costs.                                                                                                                   $_ _
       You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
       claimed is reasonable and necessary.


   29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more                                                                      $_ _
       than $160.42* per child) that you pay for your dependent children who are younger than 18 years old to attend a
       private or public elementary or secondary school.
       You must give your case trustee documentation of your actual expenses, and you must explain why the amount
       claimed is reasonable and necessary and not already accounted for in lines 6-23.
       * Subject to adjustment on 4/01/19 , and every 3 years after that for cases begun on or after the date of adjustment.


   30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are                                                           $_ _
       higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
       than 5% of the food and clothing allowances in the IRS National Standards.
       To find a chart showing the maximum additional allowance, go online using the link specified in the separate
       instructions for this form . This chart may also be available at the bankruptcy clerk's office.
       You must show that the additional amount claimed is reasonable and necessary.

   31 . Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
        instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).                                                                              + $_ _ __

       Do not include any amount more than 15% of your gross monthly income.

   32. Add all of the additional expense deductions.                                                                                                                        $_ _ __
       Add lines 25 through 31 .


     Deductions for Debt Payment


   33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
       loans, and other secured debt, fill in lines 33a through 33e . .
       To calculate the total average monthly payment, add all amounts that are contractually due
       to each secured creditor in the 60 months after you file for bankruptcy. Then divide by 60.

                                                                                                                                                   Average monthly
                                                                                                                                                   payment
           Mortgages on your home

           33a. Copy line 9b here ........................ .. ................................................. .......... ............ .. +        $_ _ _ __

           Loans on your first two vehicles

           33b. Copy line 13b here ..... ................................................... .... ..... ................... ............ +          $_ __ __


           33c. Copy line 13e here . ... ............. ...... ......................... ................................. ............... +         $_ _ _ __

           33d . List other secured debts:

                    Name of each creditor for other                                   Identify property that              Does
                    secured debt                                                      secures the debt                    payment
                                                                                                                          include taxes
                                                                                                                          or Insurance?

                                                                                                 0No                                                $_ _ _ _ _
                                                                                 _ _ _ _ _ _ _ _ 0Yes

                                                                                                 0No                                                $_ _ _ __
                                                                                 _ _ _ _ _ _ _ _ 0Yes

                                                                                                                           DNo                 +$ _ _ _ __
                                                                                 _ _ _ _ _ _ _ _ 0Yes
                                                                                                                                             Copy total
           33e. Total average monthly payment. Add lines 33a through 33d .......................................... ~_$_-                      j
                                                                                                                        _-_-_-_-_-_-_-_---~· here+
                                                                                                                                                                     I       $_ _



Official Form 122C-2                                                  Chapter 13 Calculation of Your Disposable Income                                                                  page 5



             Case 5:17-bk-00242-JJT                                         Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                                     Desc
                                                                            Main Document    Page 38 of 56
Debtor 1                                                                                                                                                 Case number (if known). _ _ _ _ _ _ _ _ _ _ _ _ _ __
                     First Name             Middle Nam e                    Last Name



r--=.     Are    an~ debts that you listed in line 33 secured by your primary-:siden_c_e_,_a_v_e_h_i_c-le_,_o_r_o_t-he_r_ p_ r_o_p_e_rt_y- ne_c_e_s_s_a_ry_ _ _ _ _ __
I         for your support or the support of your dependents?


         D      No. Go to line 35.
          D Yes. State any amount that you must pay to a creditor, in addition to the payments listed in line 33, to keep
                         possession of your property (called the cure amount). Next, divide by 60 and fill in the information below.


                             Name of the creditor                              Identify property that                    Total cure                                       Monthly cure amount
                                                                               secures the debt                          amount


                                                                                                                         $_ _ _ __                  +60=                  $ _ __


                                                                                                                         $_ _ _ __                  +60=                  $_ __

                                                                                                                         $_ _ _ __                  +60= +$_ _ __

                                                                                                                                                    Total                 $_____                I~~~t    $_ _
                                                                                                                                                                   I'---------~
                                                                                                                                                                                                 here+


       35. Do you owe any priority claims---such as a priority tax, child support, or alimony-- that are past due as of
          the filing date of your bankruptcy case? 11 U.S.C. § 507.

         D      No . Go to line 36.
          D Yes . Fill in the total amount of all of these priority claims. Do not include current or
                         ongoing priority claims , such as those you listed in line 19.

                          Total amount of all past-due priority claims. .... ..... ......... ... ..... ........................................ ..                        $_ _ _ _ __           + 60     $_ _



      36. Projected monthly Chapter 13 plan payment                                                                                                                       $_ _ _ _ __

          Current multiplier for your district as stated on the list issued by the Administrative
          Office of the United States Courts (for districts in Alabama and North Carolina) or by
          the Executive Office for United States Trustees (for all other districts).
          To find a list of district multipliers that includes your district, go online using the link
                                                                                                                                                                    x
          specified in the separate instructions for this form . This list may also be available at the
          bankruptcy clerk's office.

          Average monthly administrative expense                                                                                                                          $_ _ _ _ _ _          I~~~t    $_ _
                                                                                                                                                                    '----------~-                here+


       37. Add all of the deductions for debt payment. Add lines 33e through 36.                                                                                                                         $_ _




        Total Deductions from Income

       38. Add all of the allowed deductions.

          Copy line 24, All of the expenses allowed under IRS expense allowances ............... ....... .. ...........                                                   $_ _ _ _ __

          Copy line 32, All of the additional expense deductions .................................. .......... ............... ...........                                $_ _ _ _ __

          Copy line 37, All of the deductions for debt payment ... .... ......... ...... ............................... .......... .. ........ +$_ _ _ _ __


          Total deductions ·······································································································································l...._$_-_-~_-_-_-_- -_-_-_---~I ::!+ I. . _$::::::__~


    Official Form 122C-2                                                       Chapter 13 Calculation of Your Disposable Income                                                                                    page 6



             Case 5:17-bk-00242-JJT                                                 Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                                                      Desc
                                                                                    Main Document    Page 39 of 56
Debtor 1                                                                                                                         Case number (ff known )_ _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name         Middle Name                Last Name


                   Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13                                                                                    $
    Statement of Your Current Monthly Income and Calculation of Commitment Period. .... ........................... ...................... ..............              ---

40. Fill in any reasonably necessary income you receive for support for dependent
    children. The monthly average of any child support payments, foster care payments, or
    disability payments for a dependent child , reported in Part I of Form 122C-1, that you                                              $_ _ _ __
    received in accordance with applicable nonbankruptcy law to the extent reasonably
    necessary to be expended for such child.

41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
    employer withheld from wages as contributions for qualified retirement plans, as                                                     $_ _ _ _ __
    specified in 11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement
    plans, as specified in 11 U.S.C. § 362(b)(19).


42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A) . Copy line 38 here ............ -i                                   $_ _ _ __

43. Deduction for special circumstances. If special circumstances justify additional
    expenses and you have no reasonable alternative, describe the special circumstances
    and their expenses. You must give your case trustee a detailed explanation of the
    special circumstances and documentation for the expenses.

       Describe the special circumstances                                                   Amount of expense

                                                                                               $_ _ _ __

                                                                                               $_ _ _ __

                                                                                            +$

                                                                             Total          L $.:..=====:.. . .ll 5;y here + $_ _ _ _ __

                                                                                                                                         $_ _ _ _ _ _
44. Total adjustments. Add lines 40 through 43 .......... ................................................ ...........................                  Copy here+   -$_ _



45. Calculate your monthly disposable income under§ 1325(b)(2). Subtract line 44 from line 39.                                                                        $_ __




                    Change in Income or Expenses


46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form have changed
    or are virtually certain to change after the date you filed your bankruptcy petition and during the time your case will be
    open. fill in the information below. For example. if the wages reported increased after you filed your petition, check
    122C-1 in the first column , enter line 2 in the second column , explain why the wages increased , fill in when the increase
    occurred, and fill in the amount of the increase.

      Form                 Line        Reason for change                                          Date of change              Increase or      Amount of change
                                                                                                                              decrease?

    D122e-1                                                                                                                 01ncrease
                                                                                                                                              $
    D122e-2                                                                                                                 Ooecrease

    D122c-1                                                                                                                 01ncrease         $
    D122c-2                                                                                                                 Ooecrease

     D122c-1                                                                                                                 01ncrease        $
     0122c-2                                                                                                                Ooecrease

     D122c-1                                                                                                                01ncrease         $
     D122c-2                                                                                                                 Ooecrease




Official Form 122C-2                                              Chapter 13 Calculation of Your Disposable Income                                                               page 7



              Case 5:17-bk-00242-JJT                                     Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                                  Desc
                                                                         Main Document    Page 40 of 56
Debtor 1                                                                                       Case number (ff known) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                First Name    Middle Name      Last Name



                 Sign Below




By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.




    Signature of Debtor 1                                                   Signature of Debtor 2


    Date                                                                    Date
           M-M~/~D~D-~/~Y~YYY~~                                                    M~M~/~D~D-~/YYYY~~-




Official Form 122C-2                             Chapter 13 Calculation of Your Disposable Income                                                 page 8



           Case 5:17-bk-00242-JJT                    Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                       Desc
                                                     Main Document    Page 41 of 56
Fill in this information to identify your case:

Debtor 1
                      Ft{J.~rtj ltanme                      /4/hf{ feO.rname
Debtor2
(Spouse , if fi ling) First Name              Middle Name              Last Name


United States Bankruptcy Court for the:f'l r'riJk, District of      Pk
Case number
(If known)             '
                           (PJ - tJtJ&Jf-;;i.__
                                                                                                                                   D   Check if this is an
                                                                                                                                       amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                             12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file th is form whenever you f ile bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in f ines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571 .




                      Sign Below



        Did   }'.OU   pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms ?

        ~o
        0     Yes. Name of person._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                                  Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed w ith this declaration and
       that they are true and correct.




                                                                          Signature of Debtor 2



          o...   &.hj&.Jr'j
                 M          DD'    I   YYYY
                                                                          Date _ _ _ _ _ __
                                                                                   MM/ DD I   YYYY




  Officia l Form 106Dec                                         Declaration About an Individual Debtor's Schedules



                 Case 5:17-bk-00242-JJT                        Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                             Desc
                                                               Main Document    Page 42 of 56
      Fill in this information to identify your case:

      Debtor 1

      Debtor 2
      (Spouse,   ~filing)   First Name                       Middle Name                      Last Name


      United States Bankruptcy Court for         the:tYJrJt/Jt             District of    p,4
      Case number           ik1
                              n : aad. lfd.                                                                                                                                              0   Check if this is an
                                                                                                                                                                                             amended filing




     Official Form 106Sum
     Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                          12/15
     Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
     information. Fill out all of your schedules first; then complete the information on this form . If you are filing amended schedules after you file
     your original forms, you must fill out a new Summary and check the box at the top of this page .


• , , , Summarize Your Assets


                                                                                                                                                                                   Your assets
                                                                                                                                                                                   Value of what you own
     1. Schedule AIB: Property (Official Form 106A/B)
         1a. Copy line 55, Total real estate, from Schedule AIB ......................................................................................................... .
                                                                                                                                                                                         $dcJ '/C)4,tf d1
                                                                                                                                                                                                  I                I
                                                                                                                                                                                                                   I
         1b. Copy line 62, Total personal property, from Schedule AIB ....................................................... ............................... ....... ..                 $   70ft7~J3j
                                                                                                                                                                                             ~'7, 33 '7.4 I
r'''
         1c. Copy line 63 , Total of all property on Schedule AIB .. .............................. ........ ......................... ........................................ , .
                                                                                                                                                                                         $



                    Summa•lze You• Llabllltle•


                                                                                                                                                                                      Your liabilities
                                                                                                                                                                                      Amount you owe
I
                                                                                                                                                                                             Lil~ tit%. 1-1
1    2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 1060)
         2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ........ .. ..                                               $
                                                                                                                                                                                                                   I
     3. Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 106E/F)
         3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule EIF .......................................... ..
                                                                                                                                                                                         $   '7-2~"t>rJ            I
                                                                                                                                                                                                                   I

         3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule EIF ...................................... .
                                                                                                                                                                                   +     $   ISD;flrd.~
II
                                                                                                                                                 Your total liabilities                  $   JJ.01       'l~&@ !
I
late                 Summarize Your Income and Expenses
                                                                                                                                                                                                                   I


I
i 4. Schedule I: Your Income (Official Form 1061)                                                                                                                                        $a wJfJ,JJv
I        Copy your combined monthly income from line 12 of Schedule 1.. ....... .......... .. .. .................. .... ........................... ................ ..

     5. Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J .. ................ .... .......... .. .. ........ .. .. ... .................... ...... ...................... .         $    237 (/, hk           I




     Official Form 106Sum                                   Summary of Your Assets and Liabilities and Certain Statistical Information                                                         page 1 of 2


                  Case 5:17-bk-00242-JJT                                    Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                                                      Desc
                                                                            Main Document    Page 43 of 56
  Debtor 1                                                                                      Case number (ff known)




                 Answer These Questions for Administrative and Statistical Records

  6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

      0 o/ You have nothing to report on this part of the form . Check this box and submit this form to the court with your other schedules.
      l5J.!Yes


  7. Wha1'nd of debt do you have?

      Vvour debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
        family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes . 28 U.S.C. § 159.

      0      Your debts are not primarily consumer debts. You have nothing to report on this part of the form . Check this box and submit
             this form to the court with your other schedules.



   8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
      Form 122A-1 Line 11 ; OR, Form 1228 Line 11 ; OR, Form 122C-1 Line 14.




   9. Copy the following special categories of claims from Part 4, line 6 of Schedule EIF:


                                                                                                          Total claim


        From Part 4 on Schedule EIF, copy the following:


      9a . Domestic support obligations (Copy line 6a.)
                                                                                                                 D
                                                                                                          $~~~~~~~~



      9b. Taxes and certain other debts you owe the government. (Copy line 6b .)                          $    'l38', 60
      9c. Claims for death or personal injury while you were intoxicated . (Copy line 6c. )


      9d . Student loans. (Copy line 6f.)
                                                                                                          $     11-f1 tp9!}, {)()
      9e. Obligations arising out of a separation agreement or divorce that you did not report as
          priority claims. (Copy line 6g.)
                                                                                                          $___._o~J-
      9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h .)         +   $___,,O
                                                                                                                " ---
      9g. Total. Add lines 9a through 9f.




Official Form 106Sum      Summary of Your Assets and Liabilities and Certain Statistical Information                                        page 2 of 2


               Case 5:17-bk-00242-JJT                     Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                      Desc
                                                          Main Document    Page 44 of 56
   Fill in this information to identify your case:


   Debtor 1
                                                                                  Last Nam e

   Debtor 2
   (S pouse,   if fi ling )   First Name                Middle Name               Last Name


   United States Bankruptcy Court for the:          g   [Jd/eAistrict of   P&
   Case number
   (If known)
                                /Y -- 00 d lfQ_               <
                                                                                                                                             0   Check if this is an
                                                                                                                                                 amended filing




 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                              04/16
 Be as complete and accurate as possible. If two married people are filing together, both are equally respons ible for supplying correct
 information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write you r name and case
 number (if known). Answer every question.


                       Give Details About Your Marital Status and Where You Lived Before


   1. What is your cu rrent marital status?


        ~rried
        D      Not married


   2. Dur? the last 3 years, have you lived anywhere other than where you live now?

       ilt'"No
       0       Yes. List all of the places you lived in the last 3 years. Do not include where yo u live now.

                  Debtor 1:                                                Dates Debtor 1      Debtor 2:                                          Dates Debtor 2
                                                                           lived there                                                            lived there


                                                                                               0   Same as Debtor 1                              D   Same as Debtor 1

                                                                          From      - --                                                             From
                    Number                 Street                                                  Number Street
                                                                          To        ---                                                              To




                    City                            State Z IP Code                                City                  State Z IP Code

                                                                                               D   Same as Debtor 1                              0   Same as Debtor 1

                                                                           From                                                                      From
                    Number                 Street                                                  Number Street
                                                                          To                                                                         To




                    City                            State Z IP Code                                City                  State    ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
      stateynd territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       lil"'N o
       0       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 f §fj               Explain the Sources of Your Income

Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 1




                 Case 5:17-bk-00242-JJT                               Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                Desc
                                                                      Main Document    Page 45 of 56
Debtor 1                                                                                                 Case number (ff known)_"'"-/l/__,__-__..Q,__tJ-'--~
                                                                                                                                                        =·-Lfc-'---""SS-:__;:___

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

     D )Jo
     !lVves. Fill in the details.

                                                           Debtor 1                                                Debtor 2

                                                           Sources of income          Gross income                 Sources of income                Gross income
                                                           Check all that apply.      (before deductions and       Check all that apply.            (before deductions and
                                                                                      exclusions)                                                   exclusions)


           From January 1 of current year until            ~ges,      commissions,
                                                               bonuses, tips              $_~?LL:/:JJ.. D :~~::s~~i;smissi ons,                     $_ _ _ _ _ __
           the date you filed for bankruptcy:
                                                           D   Operating a business                                D   Operating a business


           For last calendar year:
                                                     -··   ~~es, commissions,              /j/)11       :Jf,
                                                                                                         A'?       0   Wages, co.mmissions,
                                                               bonuses, tips          $ \, 'J_']_ fl:!_ IV.:J          bonuses, tips                $_ _ _ _ _ __
           (January 1 to December 31 ,   i), P/ (/) )
                                         yyyy
                                                           0   Operating a business                                0   Operating a business



           For the calendar year before~/)       IX        ~es, c~mmissions,
                                                               bonuses, tips
                                                                                                                   D   Wages, commissions,
                                                                                                                       bonuses, tips
                                                                                                                                                    $_ _ _ _ _ __
           (January 1 to December 31 , ~                   0   Operating a business                                D   Operating a business




 5. Did you receive any other income during this year or the two previous calendar years?
    Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
    unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties ; and
    gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     0     No/
     Cil.Xes . Fill in the details .
                                                           Debtor 1                                                 Debtor2

                                                           Sources of Income              Gross Income from         Sources of Income               Gross Income from
                                                           Describe below.                each source               Describe below.                 each source
                                                                                          (before deductions and                                    (before deductions and
                                                                                          exclusions)                                               exclusions)



            From January 1 of current year until                                      $        L!7. 7!J                                            $_ _ __ __ _
            the date you filed for bankruptcy:                                        $                                                            $_ _ _ _ _ _ __
                                                                                      $                                                            $_ _ _ _ _ __ _


            For last calendar year:                                                   $    Llf!Q .?(
                                                                                           •
                                                                                                                                                   $ _ _ _ _ _ __

            (January 1 to December 31 ~                                               $                                                            $_ _ _ _ _ __
                                                                                      $                                                            $________


            For the calendar year before thaty                                        $     ll/IJ. (<?(                                            $_ _ _ _ _ __

            (January 1 to December 31,t2JJ.../!:JJ                                    $                                                            $ _ _ _ _ _ __
                                          yyyy
                                                                                      $                                                            $_ _ _ _ _ _ _




Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                  page 2




           Case 5:17-bk-00242-JJT                          Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                                    Desc
                                                           Main Document    Page 46 of 56
Debtor 1                                                                                          Case number   (ifknown)~l~Y:J,__-
                                                                                                                                  ~t2
                                                                                                                                    . . .VJ~c3~1/i~·
                                                                                                                                         .         -O(__,_______
              List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

     D     No . Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101 (8) as
                "incurred by an individual primarily for a personal, family, or household purpose ."
               Durina the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or mare?

               P    No. Go to line 7.

               D    Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                         total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also , do not include payments to an attorney for this bankruptcy case.
           /*Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

     rsr<:es . Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               ~:foe to line 7.
               (Q , '"''" List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and
                          alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                     Dates of      Total amount paid       Amount you still owe          Was this payment for ...
                                                                     payment


                                                                                   $                      $                              D Mortgage
                     Creditor's Name
                                                                                                                                         D ear

                     Number     Street                                                                                                   D Credit card

                                                                                                                                         D Loan repayment

                                                                                                                                         D Suppliers or vendors

                                                                                                                                         D Other
                     City                State           ZIP Code




                                                                                   $                      $                              D Mortgage
                     Cred itor's Name
                                                                                                                                         D ear

                                                                                                                                         D Credit card
                     Number     Street
                                                                                                                                         D Loan repayment

                                                                                                                                         D Suppliers or vendors


                     City                State           ZIP Code
                                                                                                                                         D   Other




                                                                                   $                      $                              D Mortgage
                     Creditor's Name
                                                                                                                                         D ear

                                                                                                                                         D Credit card
                     Number     Street
                                                                                                                                         D Loan repayment

                                                                                                                                         D Suppliers or vendors

                                                                                                                                         D Other
                     City                State           ZIP Code




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 3




            Case 5:17-bk-00242-JJT                         Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                           Desc
                                                           Main Document    Page 47 of 56
Debtor 1                                                                                       Case number   (ff known)
                                                                                                                              I
                                                                                                                               l/J ,- !JtJ~Y:A              c




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
    Insiders include your relatives ; any general partners; relatives of any general partners; partnerships of which you are a general partner;
    corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
    agent, incl ding one for a business you operate as a sole proprietor. 11 U.S .C. § 101 . Include payments for domestic support obligations,
               ild support and alimony.


       0   Yes. List all payments to an insider.
                                                                 Dates of      Total amount      Amount you still             Reason for this payment
                                                                 payment       paid              owe



            Insider's Name



            Number    Street




            City                          State    ZIP Code                                                               I
                                                                                                                          f       -
                                                                                                                          I
                                                                              $_ _ _ __         $_ _ __ _
            Insider's Name


            Number     Street




            City                          State    ZIP Code



  a.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
       an insider?
       lncluypayments on debts guaranteed or cosigned by an insider.

       ~o
       0   Yes. List all payments that benefited an insider.
                                                                 Dates of       Total amount     Amount you still              Reason for this payment
                                                                 payment        paid             owe
                                                                                                                              __Ln cJ_l!dEOS!~!o_(~~'!l~

                                                                               $_ _ _ _ _ $_ _ _ __
             Insider's Name



             Number    Street




             City                          State   ZIP Code



                                                                               $_ _ __ __ $_ _ __ _ _
             Insider's Name



             Number    Street




             City                          State   ZIP Code




 Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 4




           Case 5:17-bk-00242-JJT                       Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                                    Desc
                                                        Main Document    Page 48 of 56
Debtor 1                                                                                           Case number (if   knownJ.----'-l-+-7         ---4.Ll
                                                                                                                                                ---(1)'""'--"-~--'---J.-t~a./"------
                Identify Legal Actions, Repossessions, and Foreclosures
 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
    List all such matters , including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications ,
    and rtract disputes.

     ~o
     0     Yes. Fill in the details .
                                                        Nature of the case                   Court or agency                                                  Status of the case



            Case title_ __ _ _ _ _ _ _ _ __                                                1Court Name
                                                                                                                                                              0   Pending

                                                                                                                                                              0   On appeal

                                                                                            Number    Street                                                  0   Concluded

            Case number
                                                                                                                      State          ZIP Code




            Case title_ _ __ _ _ __ _ _ _ _                                                 Court Name
                                                                                                                                                              0   Pending

                                                                                                                                                              0   On appeal
                                                                                           ·- -- -Street
                                                                                            Number   - - - - - - - - - - - --                                 0   Concluded

            Case number
                                                                                            City                      State          ZIP Code
                                                      I_ - -

 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed , garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     0     No./Go to line 11 .
     ~s. Fill in the information below.
                                                                  Describe the property                                               Date                 Value of the property




                 Number    Street                                 Expl~hathappened
                                                                                                                                     !fin··-
                                                                 ·Q/Property was repossessed .
                                                                  D    Property was foreclosed .
                                                                  D    Property was garnished .
                 City                    State   ZIP Code         D    Property was attached, seized, or levied.

                                                                  Describe the property                                               Date                  Value of the properlj
                                                                                           ----·--       -- -        ·-·      -·-,


                                                                                                                                                            $_ _ _ _ __
                 Creditor's Name


                 - - - -- - - -- -- -- - - --                   ----- -------· - ·-- - - --- - - ------ --- --- ..
                 Number    Street
                                                                  Explain what happened


                                                                  0    Property was repossessed .
                                                                  0    Property was foreclosed .
                                                                  D    Property was garnished .
                  City                   State   ZIP Code
                                                                  D    Property was attached, seized, or levied .



Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                      page 5




            Case 5:17-bk-00242-JJT                      Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                                            Desc
                                                        Main Document    Page 49 of 56
Debtor 1                                                                                                  case number   (f known>J.l'j-
                                                                                                                                 . OtJal/(b'
 11 . Within 90       ays before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
                   s or refuse to make a payment because you owed a debt?


     D     Yes. Fill in the details.

                                                                  Describe the action the creditor took                        Date action      Amount
                                                                                                                               was taken
           Creditor's Name


                                                                                                                                                $_ _ _ _ _ __
           Number     Street




           City                           State     ZIP Code      Last 4 digits of account number: XXXX-_ _ _ __ _ _


  12. Within 1 ear before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
              s, a court-appointed receiver, a custodian, or another official?


     D     Yes


rill               List Certain Gifts and Contributions


  '3 w;thl(-m bofo" you fllod                     '°'   b•nk.uptoy, d;d you g;vo •ny gms with• totol voluo of mo" th•n $600 po• pmon?


     ~:s.          Fill in the details for each gift.


             Gifts with a total value of more than $600           Describe the gifts                                           Dates you gave      Value
             per person                                                                                                        the gifts



                                                                                                                                                  $_ __ _ __
           Person to Whom You Gave the Gift


                                                                                                                                                  $_ __ _ _


           Number     Street



           City                           State     ZIP Code


           Person's relationship to you


           Gifts with a total value of more than $600             Describe the gifts                                           Dates you gave     Value
           per person                                                                                                          the gifts


                                                                                                                                                  $_ _ __ _
           Person to Whom You Gave the Gift


                                                                                                                                                  $_ _ _ __



           Number      Street



            City                          State     ZIP Code


            Person's relationship to you _ _ __ __



 Offici al Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 6




           Case 5:17-bk-00242-JJT                               Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                    Desc
                                                                Main Document    Page 50 of 56
Debtor 1                                                                                                          Case number (ffknownJ _   _,/~1~-"-~(}~0~~&.......,~-~+---'----"'--

 14. ~ears before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?


     D      Yes . Fill in the details for each gift or contribution .

                Gifts or contributions to charities                   Describe what you contributed                                         Date you             Value
                that total more than $600                                                                                                   contributed



                                                                                                                                                                $_ _ _ _ __
            Charity's Name


                                                                                                                                                                $_ _ _ __


            Number        Street




            City            State          ZIP Code




f§fl                   List Certain Losses


                           ar before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
                       , or gambling?


     0      Yes. Fill in the details .

                Describe the ·property you lost and                   Describe any insurance coverage for the loss                          Date of your        Value of property
                how the loss occurred                                                                                                       loss                lost
                                                                      Include the amount that insurance has paid. List pending insurance
                                                                      claims on line 33 of Schedule AIB: Property.


           I                                                                                                                                                     $_ _ _ _ __
           II
           .________   ---- -- -- ----

                   List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
     you cons ted about seeking bankruptcy or preparing a bankruptcy petition?
     lnclud ny attorneys, bankruptcy petition preparers , or credit counseling agencies for services requ ired in your bankruptcy.


     0      Yes. Fill in the details.

                                                                      Description and value of any property transferred                     Date payment or     Amount of payment
                                                                                                                                            transfer was
                Person Who Was Paid                                                                                                         made


                Number     Street                                                                                                                               $_ _ _ __


                                                                                                                                                                $_ _ _ _ __

                City                         State       ZIP Code



                Email or website address


                Person Who Made the   Payment,~       Not You
                                                                                              -- -- -- -- ---     --   -   -   - --- --- ------------------
Official Form 107                                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 7




                Case 5:17-bk-00242-JJT                               Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                                Desc
                                                                     Main Document    Page 51 of 56
Debtor 1                                                                                                          Case number (ifknown )_       _./_l__,_~
                                                                                                                                                      / _()-'-----"fj'--={h'--·-:fb_._
                                                                                                                                                                                 · ____

                                                                     Description and value of any property transferred                           Date payment or      Amount of
                                                                                                                                                 transfer was made    payment
                                                                ,-- --·----- -
                                                                I
            Person Who Was Paid
                                                                                                                                                                     $_ _ __ _
            Number    Street

                                                                                                                                                                     $_ _ _ __



            City                       State   ZIP Code

                                                                I


            Email or website address
                                                                                                                                            I
                                                                                                                                            I
                                                                I
            Person Who Made the Payment, if Not You
                                                                l_ --- -···· ·--                                                            J
 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do n¥clude any paym ent or transfer that you listed on line 16.

     ~o
     0     Yes. Fill in the details.

                                                                     Description and value of any property transferred                           Date payment or     Amount of payment
                                                                                                                                                 transfer was
                                                                                                                                                 made
            "'Pe-r-so-n-,W
                         "'h,-o-,W.,.,..as-P
                                           "'a-,id.,---------   r -- -- -- ·- -~ -- -     -   -- -- - ---- ··---   ~-------   --

                                                                                                                                                                     $_ _ _ __
            Number     Street


                                                                                                                                                                     $_ _ _ __
            -=-----
            City
                    ----=-,---=-=-o,-o--
                           State ZIP Code
                                                                IL    __ ---· _
 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include th outright transfers and tran sfers made as security (such as the granti ng of a security interest or mortgage on you r property).
     Do n include gifts and transfers that you have already listed on thi s statement.
           No
     0     Yes. Fill in the details.
                                                                     Description and value of property            Describe any property or payments received               Date transfer
                                                                     transferred                                  or debts paid in exchange                                was made
                                                                                                             r -- - - - -                                -- --- - ----,
            Person Who Received Transfer



            Number    Street




                                                                                                             II
            City                       State   ZIP Code
                                                                                                             I
                                                                                                             j

            Person's relationship to you - - - - - -
                                                                                                                                                                     ··1

            Person Who Received Transfer


            Number     Street




            City                       State   ZIP Code                                                                                                               .J
            Person's relationship to you - - - - - -

Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                       pag e 8




           Case 5:17-bk-00242-JJT                               Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                                            Desc
                                                                Main Document    Page 52 of 56
Debtor 1                                                                                             Case number (ffknown)----+--1 1-+----~12-'-""-~-'<--=-il_,__l/~-

 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are ;-t>eneficiary? (These are often called asset-protection devices.)

     ~No
     0 Yes. Fill in the details.
                                                           Description and value of the property transferred                                         Date transfer
                                                                                                                                                     was made


           Name of trust




                List Certain Flnanclal Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include   ecking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     broke ge houses, pension funds, cooperatives, associations, and other financial institutions .


     0     Yes. Fill in the details.

                                                            Last 4 digits of account number    Type of account or        Date account was         Last balance before
                                                                                               instrument                closed, sold, moved,     closing or transfer
                                                                                                                         or transferred


            Name of Financial Institution
                                                            XXXX-_ _ _ _                       D   Checking                                       $_ _ _ __

            Number    Street
                                                                                               0   Savings

                                                                                               0   Money market

                                                                                               D   Brokerage
            City                       State   ZIP Code                                        Oother_ _ __



                                                            XXXX-_                             D   Checking                                       $_ _ _ __
            Name of Financial Institution
                                                                                               0 Savings
            Number    Street                                                                   D Money market
                                                                                               D Brokerage
                                                                                               Oother_ _ __
            City                       State   ZIP Code


                  ow have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
                ies, cash, or other valuables?
            0

     0     Yes. Fill in the details.
                                                            Who else had access to it?                     Describe the contents                         Do you still
                                                                                                                                                         have it?

                                                                                                                                                          0 No
            Name of Financial Institution                  Name
                                                                                                                                                          0 Yes

            Number    Street                               Number   Street



                                                           City       State     ZIP Code

            City                       State   ZIP Code



Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 9




           Case 5:17-bk-00242-JJT                         Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                           Desc
                                                          Main Document    Page 53 of 56
Debtor 1                                                                                                         Case number   (ifknown)_,_/1
                                                                                                                                           ~-~/)),.__._.._~__,......_L/d"=>--...,,_
22. ~ou stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?


     0     Yes. Fill in the details.
                                                             Who else has or had access to it?                        Describe the contents                                Do you still
                                                                                                                                                                           have it?

                                                                                                                                                                            ONo
             Name of Storage Facility                         Name
                                                                                                                                                                            0Yes

             Number     Street                                Number    Street



                                                             City State ZIP Code


             City                       State   ZIP Code



                      Identify Property You Hold or Control for Someone Else

                       Id or control any property that someone else owns? Include any property you borrowed from , are storing for,
                    in trust for someone.


     0     Yes. Fill in the details.
                                                             Where is the property?                                   Describe the property                            Value



             Owner's Name                                                                                                                                              $_ _ __

                                                            Number     Street
             Number      Street




                                                            City                           State      ZIP Code
             City                       State   ZIP Code


                      Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
 •   Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

 •   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
     utilize it or used to own, operate, or utilize it, including disposal sites.

 •   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. '::7rnmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?



     0      Yes. Fill in the details.
                                                             Governmental unit                            Environmental law, if you know it                           Date of notice
                                                                                                                 ----              -----


            Name of site                                     Governmental unit


            Number      Street                               Number    Street


                                                             City                  State   ZIP Code



            City                        State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                  page 10




           Case 5:17-bk-00242-JJT                           Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                                           Desc
                                                            Main Document    Page 54 of 56
Debtor 1                                                                                                       Case number (ff known)




 25.   ~otified any governmental unit of any release of hazardous material?

       0   Yes. Fill in the details.
                                                       Governmental unit                                Environmental law, if you know it                           Date of notice
                                                                                                   ,--------- - - - - - - - - - - ---·-

            Name of site                               Governmental unit

                                                                                                        ~   ---· - -· ------ -----· --·------- - -- -           '
            Number    Street                           Number     Street



                                                       City                  State     ZIP Code


            City                   State   ZIP Code


 26.   ~ave L b.een a party in any judicial or admi~ist~ative proceeding under any envir~nmental law? Include settlements and orders.-
       ~- - -



       0   Yes. Fill in the details.
                                                         Court or agency                                       Nature of the case                                    Status of the
                                                                                                                                                                     case

           Case title _ _ _ _ _ _ _ _ _ _ _ __
                                                         Court Name
                                                                                                                                                                    0    Pending

                                                                                                                                                                    0    On appeal
                                                         Number     Street                                                                                          0    Concluded


           Case number                                   City                        State   ZIP Code



                   Give Details About Your Business or Connections to Any Business
 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
           0   A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           0   A member of a limited liability company (LLC) or limited liability partnership (LLP)
           0   A partner in a partnership
           0   An officer, director, or managing executive of a corporation
           ?       owner of at least 5% of the voting or equity securities of a corporation

       ~o. None of the above applies . Go to Part 12.
       0 Yes. Check all that apply above and fill in the details below for each business.
                                                         Describe the nature of the business                                   Employer Identification number
                                                                                                                               Do not include Social Security number or mN.
            Business Name

                                                                                                                               EIN:
            Number    Street
                                                         Name of accountant or bookkeeper                                      Dates business existed


                                                                                                                               From               To
            City                   State   ZIP 5=ode

                                                         Describe the nature of the business                                   Employer Identification number
                                                                                                                               Do not include Social Security number or mN.
            Business Name

                                                                                                                               EIN:
            Number    Street
                                                         Name of accountant or bookkeeper                                      Dates business existed



                                                                                                                               From               To
            City                   State   ZIP Code


Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                       page 11




            Case 5:17-bk-00242-JJT                      Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                                             Desc
                                                        Main Document    Page 55 of 56
Debtor 1                                                                                              Case num ber   Wknown)~/__,__
                                                                                                                              /l-f-""--
                                                                                                                                     JJ----""-'
                                                                                                                                          a "'---'--
                                                                                                                                                LA. ---=

                                                              Describe the nature of the business                     Employer Identification number
                                                                                                                      Do not Include Social Security number or mN.
            Bu sin ess Name

                                                                                                                      EIN:
            Number    Street
                                                              Name of accountant or bookkeeper                        Dates business existed
                                                         r· ------

                                                                                                                      From               To
            City                    State    ZIP Code    I
                                                         I
                                                         I_


                       rs before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
                   ns, creditors, or other parties.


     D     Yes. Fill in the details below.

                                                              Date issued




            Name                                              MM I DD/YYYY


            Number     Street




            City                     State   ZIP Code




                   Sign Below

      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a fals statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up    $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341 , 1519, and 3571 .




                                                                              Signature of Debtor 2


                                                                               Date _ _ _ _ __

                                1tional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?




      Did ygw{ay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
       ~
       0    Yes. Name of person                                                                              Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                             Declaration, and Signature (Officia l Form 119).




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 12




           Case 5:17-bk-00242-JJT                       Doc 14 Filed 02/08/17 Entered 02/10/17 10:13:32                                                Desc
                                                        Main Document    Page 56 of 56
